Case: 23-1751      Document: 14           Filed: 07/17/2023    Pages: 110

                           Case No. 23-1751



                                 IN THE


 United States Court of Appeals
                  FOR THE SEVENTH CIRCUIT

                     d
YORAM KAHN , individually and on behalf of all others similarly situated,

                                 —v.—
                                                         Plaintiff-Appellant,


                            WALMART INC .,
                                                        Defendant-Appellee.


            ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
                            NO. 1:22-CV-04177
             HONORABLE SARA L. ELLIS, DISTRICT COURT JUDGE




           BRIEF AND REQUIRED SHORT APPENDIX
                FOR PLAINTIFF-APPELLANT



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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

Appellate Court No: 23-1751
                    _______________

               Yoram Kahn v. Walmart Inc.
Short Caption: _________________________________________________________________________________________

   To enable the judges to determine whether recusal is necessary or appropriate, an attorney for a non-governmental party, amicus curiae,
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          ________________________________________________________________________________________________________
          Yoram Kahn

          ________________________________________________________________________________________________________

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                                     APPEARANCE & CIRCUIT RUL E 26.1 DISCLOSURE STATEMENT

Appellate Court No:         23-1751

Short Caption:          Yoram Kahn v. Walmait Inc.

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                        /s Michael S. Bigin
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                                                               Date: ________________________________________

                           Michael S. Bigin
Attorney’s Printed Name: __________________________________________________________________________________

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          Case: 23-1751              Document: 14                  Filed: 07/17/2023             Pages: 110




                                           TABLE OF CONTENTS



JURISDICTIONAL STATEMENT ............................................................................... 1

STATEMENT OF THE ISSUES ................................................................................... 1

STATEMENT OF THE CASE....................................................................................... 3

SUMMARY OF THE ARGUMENT .............................................................................. 5

STANDARD OF REVIEW ........................................................................................... 12

ARGUMENT ................................................................................................................ 13

I.       Plaintiff Properly Pled That Walmart’s False Shelf Pricing Is a Deceptive
         Practice That Violates the ICFA ...................................................................... 13

         A.        Plaintiff Pled Facts Showing a Deceptive Practice because False Price
                   Advertising Is Unlawful Under the ICFA and Reasonable Consumers,
                   Including Plaintiff, Are Likely To Be Misled by Walmart’s False Shelf
                   Pricing Practices ..................................................................................... 13

         B.        Plaintiff Pled Facts Showing That Walmart Intended for Plaintiff to
                   Rely on Its Deceptive Practice of Advertising False Shelf Prices ........ 28

         C.        The District Court’s Opinion Creates a New Judicial Exception for
                   False Shelf Pricing Which Is in Direct Conflict with the Prohibitions
                   and Intent of the ICFA and Is Against Public Policy ........................... 30

II.      Plaintiff Properly Pled That Walmart’s False Shelf Pricing Is an Unfair
         Practice That Violates the ICFA ...................................................................... 33

III.     The District Court Erred in Dismissing Plaintiff’s UDTPA Claim................. 36

IV.      Plaintiff Properly Pled a Claim for Unjust Enrichment ................................. 38

CONCLUSION............................................................................................................. 39

ADDENDUM A




                                                             i
          Case: 23-1751             Document: 14                  Filed: 07/17/2023             Pages: 110




                                       TABLE OF AUTHORITIES



                                                                                                               Page(s)

Cases

Al Haj v. Pfizer Inc.,
  No. 17 C 6730, 2019 WL 3202807 (N.D. Ill. July 16, 2019) .................................... 27

Aliano v. Louisville Distilling Co.,
  115 F. Supp. 3d 921 (N.D. Ill. 2015) ........................................................................ 36

Aliano v. WhistlePig, LLC,
  No. 14 C 10148, 2015 WL 2399354 (N.D. Ill. May 18, 2015) .................................. 37

Athey Prod. Corp. v. Harris Bank Roselle,
  89 F.3d 430 (7th Cir. 1996) ...................................................................................... 37

Bank One Milwaukee v. Sanchez,
 783 N.E.2d 217 (Ill. App. 2003) ......................................................................... 24, 31

Bell Atlantic Corp. v. Twombly,
  550 U.S. 544 (2007) .................................................................................................. 12

Bell v. Publix Super Markets,
  982 F.3d 468 (7th Cir. 2020) ............................................................................ passim

Benson v. Fannie Mae Confections Brands, Inc.,
  944 F.3d 639 (7th Cir. 2019) ............................................................................ passim

Bober v. Glaxo Wellcome PLC,
  246 F.3d 934 (7th Cir. 2001) .................................................................................... 15

Bonahoom v. Staples, Inc.,
  No. 20-cv-1942, 2021 WL 1020986 (N.D. Ill. Mar. 17, 2021) ...................... 11, 33, 34

Camasta v. Jos. A. Bank Clothiers, Inc.,
 761 F.3d 732 (7th Cir. 2014) ........................................................................ 12, 21, 27

Camasta v. Omaha Steaks Int’l, Inc.,
 No. 12-cv-08285, 2013 WL 4495661 (N.D. Ill. Aug. 21, 2013) ........................ passim



                                                            ii
          Case: 23-1751            Document: 14                  Filed: 07/17/2023            Pages: 110


Chow v. Aegis Mortg. Corp.,
 286 F. Supp. 2d 956 (N.D. Ill. 2003) .................................................................. 11, 28

Cooper v. Retrieval-Masters Creditors Bureau, Inc.,
  42 F.4th 675 (7th Cir. 2022)................................................................................. 6, 34

Danone, U.S., LLC v. Chobani, LLC,
 362 F. Supp. 3d 109 (S.D.N.Y. 2019) ................................................................. 16, 17

Davis v. G.N. Mortg. Corp.,
 396 F.3d 869 (7th Cir. 2005) .................................................................................... 21

Duhl v. Nash Realty Inc.,
 429 N.E.2d 1267 (Ill. App. 1981); ............................................................................ 24

F.T.C. v. Think Achievement Corp.,
  312 F.3d 259 (7th Cir. 2002) .................................................................................... 26

Fuchs v. Menard, Inc.,
  No. 17-cv-01752, 2017 WL 4339821 (N.D. Ill. Sept. 29, 2017) ............................... 22

Fullerton v. Corelle Brands, LLC,
  No. 18-CV-4152, 2019 WL 4750039 (N.D. Ill. Sept. 30, 2019)................................ 37

Gansberg v. Kroger,
 No. 2022-CH-08071 (Ill. Cir. Ct., Cook Cty. Apr. 7, 2023) ............................. passim

Gohari v. McDonalds Corp.,
 No. 2016-CH-08261, 2017 WL 11676255 (Cir. Ct., Cook Cty. July 13, 2017) passim

Griffin v. Universal Cas. Co.,
 654 N.E.2d 694 (Ill. App. 1995) ............................................................................... 29

HPI Health Care Services, Inc. v. Mt. Vernon Hospital, Inc.,
 545 N.E.2d 672 (Ill. 1989) ........................................................................................ 39

Jefferson v. Sheahan,
  664 N.E.2d 212 (Ill. App. 1996) ............................................................................... 31

JPMorgan Chase Bank, N.A. v. Earth Foods, Inc.,
  939 N.E.2d 487 (Ill. 2010) ........................................................................................ 31

Killeen v. McDonald’s Corp.,
  317 F. Supp. 3d 1012 (N.D. Ill. 2018) ...................................................................... 21

Kim v. Carter’s Inc.,
  598 F.3d 362 (7th Cir. 2010) .............................................................................. 16, 26

                                                          iii
          Case: 23-1751            Document: 14                  Filed: 07/17/2023            Pages: 110


Klunk v. Cnty. of St. Joseph,
  170 F.3d 772 (7th Cir. 1999) .................................................................................... 25

Le v. Kohls Dep’t Stores, Inc.,
  160 F. Supp. 3d 1096 (E.D. Wis. 2016) .................................................................... 38

McIntosh v. Walgreens Boots All., Inc.,
 135 N.E.3d 73 (Ill. 2019) .......................................................................................... 29

Mullins v. Direct Digital, LLC,
 795 F.3d 654 (7th Cir. 2015) .................................................................................... 15

Oliveira v. Amoco Oil Co.,
  776 N.E.2d 151 (Ill. 2002) ........................................................................................ 31

Pekin Ins. Co. v. Precision Dose, Inc.,
  968 N.E.2d 664 (Ill. App. 2012) ............................................................................... 39

People ex rel. Hartigan v. Knecht Servs., Inc.,
  575 N.E.2d 1378 (Ill. App. 1991) ............................................................................. 28

Pugh v. Tribune Co.,
  521 F.3d 686 (7th Cir. 2008) ...................................................................................... 7

Robinson v. Toyota Motor Credit Corp.,
  775 N.E.2d 951 (Ill. 2002) ................................................................................ passim

Saccameno v. Ocwen Loan Servicing, LLC,
  372 F. Supp. 3d 609 (N.D. Ill. 2019) .................................................................. 35, 36

Saika v. Ocwen Loan Servicing, LLC,
  357 F. Supp. 3d 704 (N.D. Ill. 2018) ........................................................................ 35

Saunders v. Michigan Ave. Nat. Bank,
  662 N.E.2d 602 (Ill. App. 1996) ............................................................................... 22

Siegel v. Shell Oil Co.,
  612 F.3d 932 (7th Cir. 2010) .................................................................................... 30

Smith v. Prime Cable,
 658 N.E.2d 1325 (Ill. App. 1995) ............................................................................. 15

Stephens v. Capital One, N.A.,
  No. 15-cv-9702, 2016 WL 4697986 (N.D. Ill. Sept. 7, 2016) ................................... 36

Tudor v. Jewel Food Stores,
  681 N.E.2d 6 (1997) .......................................................................................... passim

                                                          iv
           Case: 23-1751              Document: 14                   Filed: 07/17/2023              Pages: 110


Van Zeeland v. Rand McNally,
  532 F. Supp. 3d 557 (N.D. Ill. 2021) ........................................................................ 38

Vanzant v. Hill’s Pet Nutrition, Inc.,
  934 F.3d 730 (7th Cir. 2019) ........................................................................ 13, 28, 33

Wigod v. Wells Fargo Bank, N.A.,
 673 F.3d 875 (7th Cir. 2017) .................................................................................... 28

Zahn v. N. Am. Power & Gas LLC,
  847 F.3d 875 (7th Cir. 2017) .................................................................................... 12

Statutes

28 U.S.C. § 1291 ............................................................................................................. 1

28 U.S.C. § 1332(d) ........................................................................................................ 1

815 ILCS 505/1............................................................................................................. 30

815 ILCS 505/2............................................................................................... 1, 2, 14, 31

815 ILCS 505/2J.2........................................................................................................ 14

815 ILCS 510/2(a)(9) .......................................................................................... 2, 14, 36

815 ILCS 510/2(a)(11) .............................................................................................. 2, 14

815 ILCS 510/2(a)(12) ............................................................................................ 14, 36

Rules

Fed. R. Civ. P. 8 ........................................................................................................... 33

Fed. R. Civ. P. 9(b) ................................................................................................. 13, 33

Fed. R. Civ. P. 12(b)(6) ....................................................................................... 5, 12, 26




                                                               v
       Case: 23-1751     Document: 14         Filed: 07/17/2023    Pages: 110



                        JURISDICTIONAL STATEMENT

   The United States District Court for the Northern District of Illinois (“District

Court”) had jurisdiction over the subject matter of this action pursuant to 28 U.S.C.

§ 1332(d) because the amount in controversy exceeds $5,000,000 and it is a class

action with more than 100 class members in which at least one class member is a

citizen of a state different from the defendant. Plaintiff-Appellant Yoram Kahn is a

citizen of Ohio and Defendant-Appellee Walmart, Inc. is a Delaware corporation with

its principal offices in Arkansas and is therefore a citizen of Delaware and Arkansas.

(SA8 at ¶¶8, 12, 14).

   This Court has appellate jurisdiction over this case under 28 U.S.C. § 1291. The

District Court dismissed the case with prejudice and entered final judgment on March

21, 2023. (SA44).

   Plaintiff timely filed a Notice of Appeal on April 19, 2023 (SA45).


                         STATEMENT OF THE ISSUES

   Plaintiff alleges that Walmart knowingly deceives Illinois (and other) consumers

by advertising one price on its shelves, successfully inducing consumers to rely on

that advertised price to select those items, but then charging consumers a higher

price at checkout. Plaintiff sued Walmart, alleging that these practices constitute

both deceptive and unfair practices in violation of the Illinois Consumer Fraud and

Deceptive Practices Act, 815 ILCS 505/1 (“ICFA”) and the Uniform Deceptive Trade

Practices Act, 815 ILCS 505/2 (“UDTPA”), and in the alternative constitute unjust

enrichment.
       Case: 23-1751      Document: 14           Filed: 07/17/2023   Pages: 110


   By its March 21, 2023 Opinion and Order (the “Opinion”), the District Court

dismissed Plaintiff’s ICFA claims with prejudice, holding that because Plaintiff was

given an itemized receipt after he already had relied on the false shelf prices and been

overcharged: (1) as a matter of law, there was no deception by Walmart; and (2)

Walmart did not intend for Plaintiff to rely on the “incorrectly scanned price.” (SA39-

40). The District Court dismissed Plaintiff’s UDTPA and unjust enrichment claims

based on its finding that they were predicated on the same allegations that support

Plaintiff’s ICFA claims. (SA41).

   Walmart routinely advertises lower prices on its store shelves than what it

charges consumers for those items at checkout. It is a deceptive practice under the

ICFA to advertise goods at one price but knowingly sell them at a higher price. See

e.g., 815 ILCS 505/2, 815 ILCS 510/2(a)(9) and (11). There are five issues presented:

1. Whether the District Court erred in holding that the issuance of a receipt, after a

   consumer has relied on a false shelf price and has been overcharged, legally

   negates the element of deception and insulates a retailer who knowingly uses false

   shelf price advertisements from liability under ICFA?

2. Whether the District Court erroneously ruled at the pleading stage that the

   issuance of the receipt, after the transaction was complete, proved conclusively

   that Walmart did not intend for Plaintiff to rely on the advertised shelf prices,

   despite allegations of exactly this intent?




                                           2
       Case: 23-1751     Document: 14          Filed: 07/17/2023    Pages: 110


3. Whether the District Court erroneously dismissed Plaintiff’s unfair practice claim

   under the ICFA (with prejudice) without considering the claim separate from

   Plaintiff’s deceptive practice claim and by applying the wrong legal standard?

4. Whether the District Court erred in dismissing Plaintiff’s UDTPA claim based

   solely on its erroneous predicate finding that Plaintiff failed to plead his ICFA

   claims?

5. Whether the District Court erred in dismissing Plaintiff’s unjust enrichment claim

   based solely on its erroneous predicate finding that Plaintiff failed to plead his

   ICFA claims?


                           STATEMENT OF THE CASE

Allegations of the Complaint

   Walmart—the nation’s largest retailer—targets consumers in Illinois and

nationwide with deceptive and unfair pricing practices. (SA7 at ¶¶5-7; A9 at ¶16).

Walmart uses its store shelves to advertise the prices of products to consumers (“Shelf

Pricing”), intending that they will rely on the Shelf Pricing to select the advertised

goods from among similar products located nearby on the shelves. (SA6 at ¶2; SA11

at ¶22). However, as Walmart knows, its Shelf Pricing frequently understates the

prices that Walmart will charge them at checkout, causing consumers unknowingly

to pay higher prices than the Shelf Pricing they relied on. (SA6 at ¶3). Walmart’s

deceptive Shelf Pricing practices are company-wide, pervasive, continuous, and affect

various merchandise throughout its stores. (SA27 at ¶86; SA30 at ¶106). These

overcharges cost consumers hundreds of millions of dollars a year. (SA7 at ¶5).


                                          3
       Case: 23-1751     Document: 14         Filed: 07/17/2023    Pages: 110


   Walmart knows that its Shelf Prices are deceiving consumers because Walmart

has been fined for this deceptive practice by local agencies in multiple states

numerous times. (id.). These fines are economically meaningless to the $500-billion

per year retailer, so rather than change its systems to eliminate the practice,

Walmart elects to continue to mislead consumers through its deceptive Shelf Pricing

practices and to collect hundreds of millions of dollars in annual overcharges. (id.).

For example, despite being fined $15,000 for overcharging consumers in five Walmart

stores in North Carolina in February 2022, Walmart continued to use deceptive Shelf

Pricing to overcharge consumers at the same stores just six months later. (SA16 at

¶36; SA18-19 at ¶¶46-48). Thus, Walmart knows that its Shelf Pricing practices

deceive consumers to their financial detriment, but Walmart willfully continues to

mislead and overcharge them because it is so profitable. (SA7 at ¶5).

   Plaintiff was a victim of Walmart’s deceptive Shelf Pricing practices. He

purchased fifteen items at a Walmart store in Niles, Illinois on August 2, 2022, and

for six of those items was charged more at checkout than what Walmart had

advertised on the Shelf Pricing. (SA8 at ¶¶12-13; SA11-15 at ¶¶24-28). Plaintiff read

and relied upon the false Shelf Pricing that was prepared and approved by Walmart.

(SA15 ¶26; accord SA35). For each purchase, Plaintiff believed he was paying the

price reflected on the Shelf Pricing; and he would not have purchased the items but

for the advertised prices. (SA15 at ¶¶26-27). Plaintiff discovered he was overcharged

only after the transaction at issue, when he was provided with a receipt and then




                                          4
       Case: 23-1751      Document: 14         Filed: 07/17/2023    Pages: 110


went back into the store and compared the prices he was charged to the advertised

Shelf Pricing. (SA11-15 at ¶¶24-28).

Procedural History and Disposition by the District Court

   On August 9, 2022, Plaintiff filed a putative class action complaint in the United

States District Court for the Northern District of Illinois. (SA2). Walmart filed a

motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6) (Fed. R. Civ.

P. 12(b)(6)). (SA4). On March 21, 2023, the District Court granted Walmart’s Rule

12(b)(6) motion with prejudice, thereby terminating the case. (SA5). The District

Court’s dismissal was based entirely on its finding that because Walmart issued a

receipt that listed the prices Plaintiff was charged, there was no deceptive practice or

requisite intent on the part of Walmart under the ICFA (or, by extension, under the

UDTPA or for unjust enrichment). (SA39-40; SA41).


                        SUMMARY OF THE ARGUMENT

   The District Court’s decision dismissing Plaintiff’s complaint should be reversed

because Plaintiff pled facts establishing valid claims under the ICFA, UDTPA, and

for unjust enrichment. To plead a claim under the ICFA, a plaintiff must allege: (1)

that the defendant committed a deceptive or unfair practice; (2) with the intent that

others rely on the deception; (3) that the act occurred in the course of trade or

commerce; and (4) that it caused actual damages. Robinson v. Toyota Motor Credit

Corp., 775 N.E. 2d 951, 960 (Ill. 2002). The District Court ruled that Plaintiff failed




                                           5
        Case: 23-1751      Document: 14           Filed: 07/17/2023      Pages: 110


to allege the first and second elements, defeating both his ICFA and UDTPA claims

and, by extension, his unjust enrichment claim. 1 (SA39-41).

   As to the first element—that Walmart committed a deceptive practice or unfair

act—Plaintiff alleged facts establishing that:

       •   Walmart uses Shelf Pricing specifically to induce consumers to select the
           advertised goods from among similar products located nearby on the shelf
           and into believing that they will pay the price advertised. (SA11 at ¶22).
           However, after enticing them with the false shelf price advertisements,
           Walmart charges consumers higher prices than advertised at checkout.
           (SA11 at ¶23).

       •   Walmart knows that it is deceiving its consumers in this way and continues
           doing so because the profits from this deceptive practice far exceed the
           paltry fines Walmart pays to local agencies if, and when, it is caught. (SA7
           at ¶5; SA15-19 at ¶¶32-48). Walmart’s false Shelf Pricing practices are
           pervasive and continuous. (SA15 at ¶32).

       •   Plaintiff was deceived by Walmart’s practices. On August 2, 2022, Plaintiff
           purchased 15 items from a Walmart store in Niles, Illinois and was charged
           more for 6 of the items at checkout than the prices misrepresented by the
           Shelf Pricing. (SA11 at ¶24; SA25 at ¶71).

       •   In selecting the items he did, Plaintiff relied on the Shelf Pricing and
           believed that he was paying the price reflected on the Shelf Pricing. (SA14-
           15 at ¶¶25-27).

       •   Walmart’s Shelf Pricing / Overcharge practices are both deceptive and
           unfair. (E.g., SA15-16 at ¶¶31-33; SA17 at ¶¶37, 41; SA21-22 at ¶55; SA24
           at ¶¶67-69; SA25 at ¶¶71, 73).




1 The District Court did not take any issue with the third and fourth elements. Nor did

Walmart argue to the District Court that Plaintiff failed to establish them. See Cooper v.
Retrieval-Masters Creditors Bureau, Inc., 42 F.4th 675, 688 (7th Cir. 2022) (“a party has
waived the ability to make a specific argument for the first time on appeal when the party
failed to present that specific argument to the district court, even though the issue may have
been before the district court in more general terms”) (citing prior Seventh Circuit cases).
Regardless, Plaintiff pled facts establishing the remaining elements.


                                              6
        Case: 23-1751       Document: 14            Filed: 07/17/2023      Pages: 110


    As to the second element, regarding the requisite intent, Plaintiff alleged that

Walmart intends for consumers to rely on its deceptive Shelf Pricing in choosing

which items to purchase (SA11 at ¶22; SA25 at ¶70; SA27 at ¶84), and that

consumers (including Plaintiff) reasonably rely on Walmart’s Shelf Pricing to make

such decisions. (SA6 at ¶2; SA14-15 at ¶¶26-27).

    Notwithstanding these allegations (see SA35-36) (acknowledging the pleading of

these facts), the District Court ruled:

       Here, Walmart provided Kahn with a receipt, reflecting the incorrectly
       scanned prices. Kahn could, and indeed did, use this receipt to compare
       the prices Walmart charged him with the advertised shelf pricing. This
       comparison revealed the discrepancy and dispelled any potential
       deception. (SA39-40). … 2

       Here, in light of the fact that Walmart provided Kahn with a receipt
       against which he could, and indeed did, compare the shelf price to the
       scanned price to determine if they differed, the Court cannot find that
       Walmart intended for Kahn to rely on the incorrectly scanned price.

(SA40) (emphasis added to reflect District Court’s mischaracterization of facts alleged

in Complaint).

    Thus, this Appeal disputes the District Court’s ruling that—even when a retailer

knowingly engages in a practice whereby it misleadingly advertises one price on its

shelves and then charges consumers a higher price at checkout (as is alleged here)—

the issuance of a receipt after the consumer already has relied on the deceptive Shelf

Pricing and overpaid for certain items, dispels the deception and effectively insulates


2 In its Motion to Dismiss, Walmart reframed its allegedly deceptive practice as a
“discrepancy” or “mere error” (SA38), and the District Court seems to have credited that
characterization in its treatment of the arguments (SA39) rather than accept Plaintiff’s
allegations as true and resolving all reasonable inferences in Plaintiff’s favor as was required.
See Pugh v. Tribune Co., 521 F.3d 686, 692 (7th Cir. 2008).
                                               7
       Case: 23-1751      Document: 14          Filed: 07/17/2023    Pages: 110


the retailer from liability under the ICFA, UDTPA, and common law. The Opinion is

wrong as a matter of law and depends largely on the District Court’s misapplication

of Tudor v. Jewel Food Stores, 681 N.E.2d 6 (Ill. App. 1997) and other law.

   In dismissing Plaintiff’s claims, the District Court erred in the following ways:

   First, the District Court disregarded the allegations of deception in the

Complaint. The District Court failed to accept as true Plaintiff’s allegations, let alone

view the allegations in the light most favorable to Plaintiff, as required at the

pleading stage. Instead, the District Court effectively ruled that a retailer (Walmart)

may use its Shelf Pricing to deceive consumers about the price they will be charged

at checkout so long as the retailer issues a receipt after the transaction.

   Neither Tudor, nor the cases cited by the District Court, nor any other case law,

support the District Court’s holding that a receipt alone negates a defendant’s

deception under the ICFA or UDTPA. Tudor and the other cases cited by the District

Court hinge on the “totality of information” made available to the plaintiff before the

fraud occurs. While the issuance of a receipt was one of a “combination of factors”

that led to the dismissal in Tudor, other courts have recognized that the Tudor

decision was driven primarily by the fact that the defendant had a published policy

specifically stating, “if the scanned price of any unmarked item is different from the

price on the shelf, you will get the item for free.” Thus, in Tudor there was no evidence

of deception because the policy specifically warned shoppers in advance of their

transactions that scanning errors might occur, and the defendant gave them a

complementary means (a receipt and a free item) to enforce that policy. In contrast,



                                           8
       Case: 23-1751     Document: 14          Filed: 07/17/2023    Pages: 110


here Walmart provides no similar warning or notice alerting its consumers that

charged prices may not match what they saw on the shelf; to the contrary, Plaintiff

alleges that Walmart intends for its Shelf Pricing to mislead consumers and to result

in overcharges.

   The District Court’s decision also conflicts with other Illinois state and federal

courts that have addressed false price advertisements under the ICFA (both before

and after the District Court ruled) and have rejected the view that the issuance of a

receipt alone or a general money-back policy exonerates retailers for false price

advertising. Indeed, just two weeks after the District Court dismissed Plaintiff’s

claims (with prejudice), an Illinois state court upheld an ICFA claim with virtually

identical facts in Gansberg v. Kroger, No. 2022-CH-08071 (Ill. Cir. Ct., Cook Cty. Apr.

7, 2023) (attached hereto as Addendum A). The court in Kroger distinguished Tudor

for the same reasons Tudor is distinguishable from this case, and rejected the

assertion that a receipt given to a consumer after she relied on false Shelf Pricing

negated the deception. The court was especially critical of the notion that a retailer

issuing a receipt would be insulated from liability under the ICFA, emphasizing that

reasonable consumers are not expected to go back and audit their receipts to ensure

that a retailer is not falsely advertising prices. Kroger, No. 2022-CH-08071 at ¶2.

Indeed, this Court recognized that a receipt does not dispel deception under the ICFA

as a matter of law in Benson v. Fannie Mae Confections Brands, Inc., 944 F.3d 639,

646-47) (7th Cir. 2019), where the Court declined to find a lack of deception based on

the issuance of a receipt and information on the product’s packaging which, the



                                          9
       Case: 23-1751      Document: 14          Filed: 07/17/2023    Pages: 110


defendant argued, fully disclosed the net weight and number of candies contained in

the package (even though the Court relied on the receipt to dismiss an implied

contract claim) (see id. at 646-47; 648-49).

   By holding that a receipt alone negates any deception created by false Shelf

Pricing, the District Court essentially created a judicial exception to the ICFA for

false price advertising when no such exception exists. But, to the contrary,

advertising false shelf prices is per se unlawful under the ICFA (including by

incorporation of the UDTPA). Thus, the District Court’s Opinion severely limits the

ICFA by permitting deceptive price advertising by retailers so long as they issue

receipts (which is likely almost 100% of the time). The Opinion, if upheld, will allow,

and indeed incentivize, Walmart to continue to deceptively induce consumers to

purchase items based on false Shelf Pricing, only to overcharge unknowing consumers

at checkout. Such a judicially-created “safe harbor” has been rejected by Illinois

courts, is contrary to the purpose and intent of the ICFA, and is detrimental to Illinois

consumers.

   Second, the District Court erred in finding that because Walmart provided a

receipt, “the Court cannot find that Walmart intended for Kahn to rely on the

incorrectly scanned price.” See SA40-41 (emphasis added). Mischaracterizing the

Complaint, the District Court ignored allegations that Walmart intends for

consumers to rely on advertised shelf prices to induce consumers to make purchase

choices, but then charges them higher prices than advertised. (SA6 at ¶¶1-2; SA11 at

¶22; SA19 at ¶70; SA27 at ¶84). These facts adequately allege the required intent.



                                           10
       Case: 23-1751      Document: 14         Filed: 07/17/2023    Pages: 110


See Chow v. Aegis Mortg. Corp., 286 F. Supp. 2d 956, 963 (N.D. Ill. 2003) (“To satisfy

[the ICFA’s] intent requirement, plaintiff need not show that defendant intended to

deceive the plaintiff, but only that the defendant intended the plaintiff to rely on the

(intentionally or unintentionally) deceptive information given”).

   Third, the District Court erred in dismissing with prejudice Plaintiff’s ICFA

unfair practices claim. While the District Court acknowledged that Plaintiff alleges

both deceptive practices and unfair practices claims under the ICFA (SA37-38), it

erroneously elected to “interpret” the ICFA claim “solely as a deceptive practices

claim.” Id. However, deceptive practice claims and unfair practice claims are separate

claims under the ICFA, with different elements and standards applicable to each

claim, and both may be pled in the alternative in the same complaint even if they are

based on the same alleged conduct. See Benson, 944 F.3d at 647 (holding that the

same deceptive packaging behavior can support both claims, and denying a motion to

dismiss both claims); see also Bonahoom v. Staples, Inc., No. 20-cv-1942, 2021 WL

1020986, at *5 (N.D. Ill. Mar. 17, 2021) (holding that detailed factual allegations of

false advertising and overcharging customers adequately pled an unfair practice

under ICFA). The District Court failed to consider (and Walmart also did not address)

Plaintiff’s allegations that Walmart’s pricing practices offend public policy, are

immoral, unethical, unscrupulous, and are substantially injurious to consumers.

Moreover, the District Court erred in dismissing Plaintiff’s ICFA unfair practice

claim as that claim does not require the element of deception.




                                          11
       Case: 23-1751      Document: 14          Filed: 07/17/2023    Pages: 110


   Fourth, the District Court erred in dismissing Plaintiff’s UDTPA claim based on

its erroneous predicate finding that Plaintiff failed to plead his ICFA claims. Plaintiff

adequately pled facts supporting the UDTPA claim.

   Fifth, the District Court erred in dismissing Plaintiff’s unjust enrichment claim

based on its erroneous predicate finding that Plaintiff failed to plead his ICFA claims.

Plaintiff adequately pled facts supporting all claims.


                             STANDARD OF REVIEW

   This Court reviews “de novo the dismissal of a complaint for failure to state a

claim” pursuant to Fed. R. Civ. P. 12(b)(6). Benson, 944 F.3d at 644. “In so doing, [it]

construe[s] the complaint in the light most favorable to the nonmoving party,

accept[s] well-pleaded facts as true, and draw[s] all inferences in the nonmoving

party’s favor.” Zahn v. N. Am. Power & Gas LLC, 847 F.3d 875, 877 (7th Cir. 2017)

(internal quotations and alterations omitted). “To survive a motion to dismiss under

Rule 12(b)(6), the complaint must provide enough factual information to state a claim

to relief that is plausible on its face and raise a right to relief above the speculative

level.” Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736 (7th Cir. 2014)

(internal quotation marks omitted). “The plaintiffs need only ‘nudge[ ] their claims

across the line from conceivable to plausible.’” Bell v. Publix Super Markets, 982 F.3d

468, 476 (7th Cir. 2020) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 547

(2007)).




                                           12
         Case: 23-1751    Document: 14         Filed: 07/17/2023    Pages: 110


                                    ARGUMENT

I.      Plaintiff Properly Pled That Walmart’s False Shelf Pricing Is a
        Deceptive Practice That Violates the ICFA

     To state a claim under the ICFA based on a “deceptive practice” (as opposed to an

“unfair practice,” discussed separately in Section II below) a plaintiff must allege, in

accordance with Rule 9(b): (1) a deceptive act or practice by the defendant; (2) the

defendant’s intent that the plaintiff rely on the deceptive statement; (3) the deception

occurred in the course of conduct involving trade or commerce; and (4) actual damages

to the plaintiff proximately caused by the deception. Robinson, 775 N.E. 2d at 960;

see also Vanzant v. Hill’s Pet Nutrition, Inc., 934 F.3d 730, 739 (7th Cir. 2019)

(applying Rule 9(b) to an ICFA claim); Benson, 944 F.3d at 646 (same).

     Here, Plaintiff sufficiently pled detailed facts establishing each element of an

ICFA deceptive practice claim. The District Court, however, dismissed the

Complaint, holding that the first and second elements cannot be met because

Walmart issues receipts to customers. These holdings are incorrect as they ignore the

allegations of the Complaint, misapply Illinois law, and otherwise violate the intent

of the ICFA. Accordingly, this Court should reverse the District Court’s dismissal and

deny Walmart’s motion to dismiss Plaintiff’s ICFA deceptive practice claim.

        A.    Plaintiff Pled Facts Showing a Deceptive Practice because
              False Price Advertising Is Unlawful Under the ICFA and
              Reasonable Consumers, Including Plaintiff, Are Likely To Be
              Misled by Walmart’s False Shelf Pricing Practices

     The ICFA exists to protect consumers from being defrauded by retailers. As such,

false price advertising is unlawful under the ICFA. The ICFA prohibits retailers, such

as Walmart, from engaging in any unfair or deceptive act or practice using any false

                                          13
        Case: 23-1751       Document: 14            Filed: 07/17/2023      Pages: 110


promise, misrepresentation, or the use or employment of any practice described in

Section 2 of the UDTPA. 815 ILCS 505/2. In turn, Section 2 of the UDTPA defines a

“deceptive trade practice” to include: (1) advertising goods with intent not to sell them

as advertised; (2) making false or misleading statements of fact concerning the

reasons for, existence of, or amount of price reductions; and/or (3) engaging in any

other conduct which similarly creates a likelihood of confusion or misunderstanding.

815 ILCS 510/2(a)(9), (11) and (12); see also 815 ILCS 505/2J.2. 3

   Walmart’s Shelf Pricing practices violate the foregoing list of unlawful acts

because: Walmart makes false promises as to the price that will be charged; its shelf

prices are misrepresentations to the consumer; it makes shelf advertisements to sell

goods (at one price) with the intent not to sell them at the advertised price; and it

makes false statements concerning the amount of price reductions. There are no

statutory exceptions to these unlawful practices for retailers who later issue a

receipt. 4

   Further, under the catch-all broad language of the ICFA and UDTPA, a practice

is deceptive if it “creates the likelihood of deception or has the capacity to deceive.”



3 815 ILCS 2J.2 provides that if a retailer uses an automatic price look up system (i.e., scanner

system) rather than marking the price on each individual item, then that retailer must
display the current price information in close proximity to the item, further demonstrating
the Illinois legislature’s intent that consumers be presented with accurate pricing
information before they reach checkout and that they be able to rely on such price displays
as accurate.

4 Indeed, as discussed in Section I.C below, because essentially all retailers issue receipts,

such an exception would frustrate the statute. For example, while the ICFA / UDTPA
specifically prohibits retailers from “advertising goods with intent not to sell them as
advertised” (as is alleged here), the District Court’s ruling would allow any such transaction
with the issuance of a receipt.
                                               14
        Case: 23-1751       Document: 14               Filed: 07/17/2023   Pages: 110


Bober v. Glaxo Wellcome PLC, 246 F.3d 934, 938 (7th Cir. 2001). “Where the deception

is based on a misrepresentation, that misrepresentation must be material and must

relate to a matter upon which the plaintiff could be expected to rely in determining

whether to engage in the conduct in question.” Smith v. Prime Cable, 658 N.E.2d

1325, 1336 (Ill. App. 1995). Courts apply a “reasonable consumer” standard in

evaluating the likelihood of deception and look at this question in view of the “totality

of information” available to the consumer. Benson, 944 F.3d at 647 (finding that the

plaintiff pled a deceptive act where she alleged that she and others attached

importance to the size of packaging, which was sufficient to indicate that a

“reasonable consumer” would as well); Mullins v. Direct Digital, LLC, 795 F.3d 654,

673 (7th Cir. 2015). “What matters most is how real consumers understand and react

to the advertising.” Bell, 982 F.3d at 476. This typically cannot be resolved at the

pleading stage and dismissal is appropriate only if the statement “is not misleading

as a matter of law.” Bober, 246 F.3d at 938; Bell, 982 F.3d at 481. Only where a

plaintiff     bases   deceptive   advertising        claims   on   unreasonable   or   fanciful

interpretations of labels or other advertising, is dismissal on the pleadings justified.

Id. at 477.

   Walmart’s alleged deceptive Shelf Pricing practice is straightforward: it

advertises false, teaser prices that deceive reasonable consumers. Walmart intends

that consumers will rely on the false Shelf Pricing and intends to profit when those

consumers unknowingly overpay at checkout. Plaintiff’s allegations are sufficient for

pleading a deceptive practice under the ICFA. Accord Gansberg v. Kroger, No. 2022-



                                                15
       Case: 23-1751     Document: 14          Filed: 07/17/2023   Pages: 110


CH-08071 (Cir. Ct., Cook Cty. April 7, 2023) (Order) (claims that the defendant-

grocery store charged more at checkout out than its advertised shelf prices

sufficiently alleged a deceitful act under the ICFA); Gohari v. McDonalds Corp., No.

2016-CH-08261, 2017 WL 11676255, at *1-2 (Cir. Ct., Cook Cty. July 13, 2017)

(allegations that fast food chain charged higher prices at checkout than prices listed

on its menu stated a claim for deceptive conduct under the ICFA); Kim v. Carter’s

Inc., 598 F.3d 362, 365 (7th Cir. 2010) (allegations that a retailer used false price

comparisons and that reasonable consumers were misled by the false comparisons

were sufficient to plead that the defendant engaged in a deceptive act under the

ICFA) (dismissal affirmed on other grounds).

   This Court’s decision in Bell v. Publix Super Markets, Inc. is instructive with

respect to what is expected of a reasonable consumer. The plaintiffs in Bell alleged

that they were misled by labels that stated “100% Grated Parmesan Cheese” because

the products contained non-cheese ingredients. 982 F.3d at 474. The district court

held that the labels were not deceptive as a matter of law because any ambiguity

created by the 100% claim could be cleared up by reading the ingredient list on the

back of the package. Id at 475. This Court disagreed, holding that even “an accurate

fine-print list of ingredients does not foreclose as a matter of law a claim that an

ambiguous front label deceives reasonable consumers.” Id. at 476 (emphasizing that

“[c]onsumer protection laws do not impose on average consumers an obligation to

question the labels they see and parse them as lawyers might for ambiguities,

especially in the seconds usually spend picking a low-cost product”) (quoting Danone,



                                         16
        Case: 23-1751        Document: 14            Filed: 07/17/2023      Pages: 110


U.S., LLC v. Chobani, LLC, 362 F. Supp. 3d 109, 123 (S.D.N.Y. 2019) (“[A] parent

walking down the dairy aisle in a grocery store, possibly with a child or two in tow, is

not likely to study with great diligence the contents of a complicated product package,

searching for and making sense of fine-print disclosures in asterisked footnotes. . . .

Nor does the law expect this of the reasonable consumer”); see also Benson, 944 F.3d

646-47 (declining to accept the defendant’s argument that the candy’s packaging and

the issued receipt dispelled deception because they disclosed the accurate weight and

price of the candy because the plaintiffs alleged that reasonable consumers place

significance on packaging size).

   The same is true here. Just as reasonable consumers can be deceived by

ambiguous or inaccurate labels and are not expected to investigate the accuracy of

the representations by reading a package’s fine print, reasonable consumers are also

deceived by false shelf price advertisements and are not required to confirm those

price representations by auditing their receipts after already having unknowingly

overpaid. 5 See Kroger, No. 2022-CH-08071 at ¶2 (rejecting the assertion that

consumers must record all prices of their items, purchase them, and then compare

the receipt to their own data to ensure that the retailer is honoring its advertised

prices). Instead, reasonable consumers expect that retailers—especially a nationwide

giant such as Walmart—will charge them the prices advertised. Accordingly, the


5 Notably, in fact, while the ingredient lists on the back of products are part of the totality of

information available to consumers when evaluating representations on front labels (at the
time they are deceived by the misleading representations), in contrast, the charges shown on
a receipt are not available to the consumer at the time they select a product for purchase
based on Walmart’s deceptive Shelf Pricing.


                                               17
       Case: 23-1751      Document: 14         Filed: 07/17/2023    Pages: 110


Complaint details a deceptive practice that is sufficient to withstand a Rule 12

motion.

             1.     Tudor Does Not Support the District Court’s Holding That
                    a Receipt Dispels the Deception Caused by Walmart’s
                    False Shelf Pricing

   Ignoring Plaintiff’s allegations that Walmart’s deceptive false Shelf Pricing

practices are intentional and pervasive, the District Court mistakenly twisted the

holding of Tudor v. Jewel Food Stores, Inc., 681 N.E.2d 6 (Ill. App. 1997), to opine

that because Plaintiff was provided with a receipt evidencing the overcharges, there

was no deception under the ICFA. (SA39). Tudor does not support the District Court’s

novel holding.

   The plaintiff in Tudor brought consumer fraud claims for items that were mis-

scanned, causing her to pay more for the items than the advertised prices. Tudor, 681

N.E.2d at 7-8. While Tudor involved a similar claim to the one at issue here (e.g., that

the plaintiff was overcharged at checkout) it is entirely distinguishable from this case

because its holding was driven by materially different fact allegations and a

superseded regulatory interpretation.

   Critically, Tudor did not hold, as the District Court wrongly interpreted, that a

receipt alone dispelled the alleged deception for mis-scanned items. Rather, the court

found that a “combination” of facts indicated that there was no deception on the part

of the defendant—including facts that are not present here. Tudor, 681 N.E.2d at 8.

Specifically, the appellate court in Tudor placed heavy emphasis on the admissions

in the complaint that the defendant’s scanners were 96% accurate and that the


                                          18
       Case: 23-1751      Document: 14          Filed: 07/17/2023    Pages: 110


defendant had a policy that specifically offered mis-scanned items for free. See id. at

8; accord Camasta v. Omaha Steaks Int’l, Inc., No. 12-cv-08285, 2013 WL 4495661,

at *9-10 (N.D. Ill. Aug. 21, 2013) (stressing that it was this combination of facts that

drove Tudor, and not any one of them alone).

    In analyzing the facts that dispelled the alleged deception in Tudor, the Tudor

court first contrasted the plaintiff’s allegation that the defendant had a company-

wide 96% scanner accuracy rate from 1991 to 1993 with what the National

Conference on Weights and Measures (“NCWM”) then-considered a “serious

violation” of its guidelines –75-92% accuracy rates. See Tudor, 681 N.E.2d at 8.

Significantly, fifteen years after Tudor was decided, in 2012, the U.S. Government

published its clarification on the significance of the NCWM error rate “guideline” in

the FAQs on its website (an official website of the U.S. Government), and clarified

that even 98% accuracy rates do not insulate retailers from liability for deceptive

overcharges: “It is unlawful in all States to advertise a price that is not accurate” and

“It would be incorrect to interpret the [guidelines] to mean that stores are allowed to

have 2% of their products incorrectly priced.” 6

    Today, the Tudor court would be wrong to interpret the recommended regulatory

error rate in the way it did in 1997 (that relatively high accuracy rates are suggestive

of a legal lack of deception). Because the defendant’s accuracy rate was one of the

facts that drove the court’s decision in Tudor, its dismissal of the ICFA claim is

unreliable. That aside, Plaintiff’s allegations showing Walmart’s Shelf Pricing was


6  See https://www.nist.gov/pml/owm/laws-and-regulations/price-verification       (stating
these FAQs were created January 30, 2012 and updated October 8, 2019).
                                           19
       Case: 23-1751      Document: 14         Filed: 07/17/2023    Pages: 110


fraudulent for 40% of the items he purchased on one shopping trip distinguishes the

facts here from Tudor. (SA11 at ¶24).

   The Tudor court also found it material that the defendant had a store policy that

specifically put consumers on notice that the scanned prices may not match the shelf

prices, and guaranteed its shelf prices by offering any mismarked item free. Tudor,

681 N.E.2d at 8 (defendant’s published policy expressly applicable “if the scanned

price on any unmarked item is different from the price on the shelf”). Thus, the receipt

issued by the Tudor defendant did not contribute to dispelling the alleged deception;

it was the enforcement mechanism for the shelf-price-specific money-back policy. See

also Camasta v. Omaha Steaks, 2013 WL 4495661, at *9 (rejecting defendant’s “no

deception” argument because “Unlike in Tudor, where the money back guarantee

specifically highlighted the [shelf price - scanner] overpayment at issue…, here

[plaintiff’s] allegations do not foreclose a finding that defendant’s advertising

practices were deceptive”).

   Perhaps, when a retailer specifically tells its customers in advance that the

scanned price may be higher than the shelf price, the retailer does not intend to

deceive its customers. But that circumstance is not present here. Walmart does not

warn its shoppers that its Shelf Pricing may understate the price they may be charged

at checkout and does not specifically guarantee Shelf Pricing accuracy by offering

overcharged items for free. (SA41 at n. 4). To the contrary, Plaintiff alleges that

Walmart profits hundreds of millions of dollars each year from this practice, and that




                                          20
        Case: 23-1751       Document: 14            Filed: 07/17/2023      Pages: 110


it therefore intentionally chooses not to put systems in place to put an end to the

deception. (SA7 at ¶5; SA15 at ¶32). 7

   Further, unlike in Tudor, there was no information made available to Plaintiff at

the time he was misled that could have dispelled the misleading nature of Walmart’s

false Shelf Pricing. See Davis v. G.N. Mortg. Corp., 396 F.3d 869, 884 (7th Cir. 2005)

(“the allegedly deceptive act must be looked upon in light of the totality of the

information made available to the plaintiff”). Plaintiff was misled about the prices

when he read and relied upon the false Shelf Pricing. Plaintiff did not learn (and

cannot possibly have learned) that he was deceived—or for which items—until after

he completed his purchase. The receipt was given to Plaintiff after his purchase was

complete—after the deception already had occurred. See Camasta v Jos. A. Bank

Clothiers, 761 F.3d at 737-38 (“A sales receipt provided to a consumer after a purchase

cannot show what was supposedly advertised; the representation must have been

made to him before the purchase of the merchandise”) (emphasis added).

   For this reason, the other deception cases relied upon by the District Court are

completely inapposite, as they all deal with information available to the plaintiff

which revealed the deception before the transaction was complete. (SA39). See Killeen

v. McDonald’s Corp., 317 F. Supp. 3d 1012, 1013 (N.D. Ill. 2018) (finding no deception

because the prices for individual items appeared on the menu alongside the prices for


7 Even if Walmart offered a return policy, a fact not a part of the record here, it would be far

less indicia of lack of intent than warning consumers of possible pricing errors and offering
any mispriced item for free. Giving the customer the overcharged item for free creates a
financial loss for the retailer, which suggests the retailer did not intend to deceive consumers
with false shelf prices. A price adjustment/refund insulates the retailer from writing off the
item as a loss and maintains a profit margin for the item.
                                              21
       Case: 23-1751     Document: 14          Filed: 07/17/2023    Pages: 110


the Extra Value Meal that the plaintiff claimed were misleading); Fuchs v. Menard,

Inc., No. 17-cv-01752, 2017 WL 4339821, at *5 (N.D. Ill. Sept. 29, 2017) (“[T]he

lumber’s width and height are right there for the measuring. … Plaintiffs can readily

see if there is a mismatch between what they perceive as the size on the label and the

height and width of the lumber”); Saunders v. Michigan Ave. Nat. Bank, 662 N.E.2d

602, 608 (Ill. App. 1996) (“[T]he listing of the overdraft charge was buried in several

documents[.] … Saunders received all the information necessary concerning overdraft

charges. … Saunders accepted the unambiguous fee terms by opening her account”).

   Thus, the totality of information available to Plaintiff here did not negate the

deception caused by Walmart’s false Shelf Pricing. Unlike Tudor, Plaintiff alleges a

deceptive, company-wide practice whereby Walmart knowingly misleads consumers

through its false Shelf Pricing and intentionally chooses to continue to deceive and

overcharge its shoppers. (SA15-16 at ¶¶32-36). The District Court’s reliance on Tudor

was wrong.

             2.     Illinois Courts That Have Addressed Fraudulent Pricing
                    Claims Since Tudor Have Rejected the View Adopted by
                    the District Court

   The District Court’s finding that a receipt alone dispels any deception as a matter

of law is a misapplication of Tudor that has been rejected by Illinois state courts in

cases involving the same type of false price advertisements that are alleged here.

   For example, two weeks after the District Court issued its decision in this case,

Cook County Circuit Court Judge Eve M. Reilly came to the exact opposite conclusion

as the District Court here. See Kroger, No. 2022-CH-08071. Like Plaintiff, the


                                          22
       Case: 23-1751       Document: 14          Filed: 07/17/2023   Pages: 110


plaintiff in Kroger alleged that the defendant-retailer violated the ICFA by

advertising lower prices on its shelves but charging higher prices at checkout. Id. at

¶1. Like Walmart, the defendant in Kroger moved to dismiss the plaintiff’s complaint

based on Tudor, claiming that because the plaintiff was provided with a receipt, she

was not deceived. Id. at ¶2. However, contrary to the District Court, Judge Reilly

flatly rejected the assertion that a receipt dispels the deception caused by false shelf

prices, and distinguished Tudor for the same reasons Plaintiff argues Tudor is

distinguishable from this case. Id. Notably, Judge Reilly also highlighted that, unlike

Tudor, the plaintiff in Kroger (like Plaintiff here) alleged that the defendant’s

continued false shelf pricing was intentional. Id. (“despite Defendant being aware of

the overcharging issue ‘Defendant continues to routinely charge more for various

groceries than their advertised price’”).

   Judge Reilly also articulated the absurdity of the assertion (and thus, the District

Court’s holding) that consumers are not misled by false shelf prices if they are

provided with a receipt:

      By Defendant’s logic, Plaintiff, and all others similarly situated, should
      record all pricing of their shopping, purchase the items to acquire a
      receipt, and then compare the receipt to their own data to ensure that
      Defendant is, in fact, honoring its own advertised pricing, and
      Plaintiff’s failure to do so would excuse Defendant from having to
      charge its advertised pricing as Plaintiff ‘should have known’ some
      advertised prices were not what Plaintiff was actually charged. Should
      Plaintiff then realize she was overcharged, she must not have [been]
      deceived by Defendant’s practice and Defendant cannot be liable under
      the UDTPA and ICFA because, any alleged deceitful act did not
      actually deceive Plaintiff. Despite Defendant’s creative approach, the
      language of the ICFA … [makes such behavior] unlawful whether any
      person has in fact been misled[ or] deceived ….



                                            23
       Case: 23-1751      Document: 14          Filed: 07/17/2023     Pages: 110


Id. (emphasis in original).

   Judge Reilly’s rejection of the defendant’s attempt to insulate itself from liability

under the ICFA through the issuance of a receipt recognizes the reality of the

consumer shopping experience and highlights the pernicious effects of the District

Court’s decision here. This is not only an illogical result, but it runs afoul of the very

purpose of the ICFA. See Bank One Milwaukee v. Sanchez, 783 N.E.2d 217, 220 (Ill.

App. 2003) (noting that “there is a clear mandate from the Illinois legislature that

the courts utilize the Act to the utmost degree in eradicating all forms of deceptive

and unfair business practices and grant appropriate remedies to injured parties”)

(quoting Duhl v. Nash Realty Inc., 429 N.E.2d 1267, 1277 (Ill. App. 1981); see also

Bell, 982 F.3d 468 at 476 (recognizing that the law does not expect reasonable

consumers to study packaging fine-print searching for disclosures).

   For the same reasons, in Gohari, Judge Kathleen M. Pantle rejected the assertion

that the issuance of a receipt dispelled any deception in a case against a fast-food

retailer for advertising false menu prices. Similar to Plaintiff’s allegations, the

plaintiff in Gohari alleged that McDonald’s violated the ICFA by advertising lower

prices on its digital display menu but then charging the plaintiff higher prices at

checkout. 2017 WL 11676255, at *1-2. In denying the defendant’s motion to dismiss

(for the second time), Judge Pantle distinguished Tudor: “Similar to Jewel,

McDonald’s Lott #1 issued Gohari a receipt, which allowed her to check whether she

had been correctly charged. However, unlike Jewel, McDonald’s did not offer Gohari

a money-back guarantee if the price she was charged differed from the price



                                           24
       Case: 23-1751      Document: 14          Filed: 07/17/2023     Pages: 110


advertised on the menu board.” Id. at *6. And, like Judge Reilly in Kroger, Judge

Pantle found it notable that the plaintiff in Gohari (like Plaintiff here, but unlike the

plaintiff in Tudor) alleged that McDonald’s knew its advertised prices were wrong

and intentionally failed to correct them. Id. at *6 (trier of fact could conclude that

McDonald’s conduct was deceptive because McDonald’s knew the menu boards were

wrong and didn’t fix them or charge her the price advertised).

   Thus, Kroger and Gohari, two state court decisions interpreting Illinois state law

in cases involving overcharges, held that a receipt alone does not dispel the deception

caused by false price advertisements. To Plaintiff’s knowledge, Kroger and Gohari are

the only Illinois state cases involving the type of false price advertising practices

alleged here (i.e., advertising one price but charging a higher price at checkout) (other

than Tudor) and both cases flatly rejected the position taken by the District Court.

Because Plaintiff’s substantive claims arise under state law and state courts have

addressed the specific questions raised, Kroger and Gohari are persuasive. See Klunk

v. Cnty. of St. Joseph, 170 F.3d 772, 777 (7th Cir. 1999) (“To the extent that the state’s

highest court has not addressed an issue, we examine the decisions of the lower state

courts”).

   Indeed, in Benson, this Court declined to accept the argument that a receipt

proved a lack of deception as a matter of law under the ICFA (even though the Court

relied on the receipt to dismiss the plaintiffs’ implied contract claim). See Benson, 944

F.3d at 646-49. Further, at least one other Illinois federal court has rejected the

concept that a receipt alone would be enough to dispel a deceptive act at the pleading



                                           25
       Case: 23-1751       Document: 14          Filed: 07/17/2023      Pages: 110


stage. In Camasta v. Omaha Steaks, 2013 WL 4495661, at *1, Judge Lefkow denied

a Rule 12(b)(6) motion to dismiss and rejected the defendant’s attempt to rely on

Tudor the way the District Court has here. In Camasta v. Omaha Steaks, the plaintiff

alleged that he was induced to purchase steaks based on allegedly misleading signage

of “sale prices” that were fictitious. Id. at *1-3. The plaintiff received a receipt that

showed the actual price he paid (which matched the price advertised) and included a

general money-back guarantee “for any reason at all.” Id. at *1. Like Walmart, the

defendant argued that the information available to plaintiff allowed him to

“determine defendants’ pricing practices” and to return the steaks for a full refund,

and therefore under Tudor there was no deception. Judge Lefkow disagreed, finding

“[u]nlike in Tudor, however, where the money back guarantee specifically highlighted

the [type of conduct that could lead to the] overpayment at issue and the plaintiff

admitted that charges were 96% accurate, here [plaintiff’s] allegations do not

foreclose a finding that defendants’ advertising practices were deceptive.” 2013 WL

4495661, at *9. 8

   Judge Lefkow further observed, “the argument that a money back guarantee

essentially makes any alleged falsity in advertising irrelevant because it is harmless

‘has been repeatedly rejected.’” Camasta v. Omaha Steaks, 2013 WL 4495661, at *9

(citing inter alia F.T.C. v. Think Achievement Corp., 312 F.3d 259, 261 (7th Cir.



8 Judge Lefkow’s holding in Camasta also is consistent with this Court’s holding in Carter’s

Inc., a case involving similar alleged fictitious price reductions. While this Court did not
address Tudor in Carters, it did hold, like Judge Lefkow, that the plaintiffs alleged a
deceptive practice under the ICFA by alleging that they were misled by the false
advertisements. 598 F.3d at 364-66 (dismissal affirmed on other grounds).
                                            26
       Case: 23-1751      Document: 14         Filed: 07/17/2023      Pages: 110


2002)). Thus, it stands to reason that the issuance of a receipt—which certainly is a

fact present in any case in which a retailer offers a money back guarantee—similarly

does not negate the falsity of the deceptive ads or the ICFA claim.

   The District Court wrongly disregarded Judge Lefkow’s rejection of Tudor,

limiting its discussion to a footnote. (SA40 at n.3). The District Court attempted to

distinguish Camasta v. Omaha Steaks, arguing that due to the nature of the

defendant’s deception in that case “nothing suggests that the provision of the receipt

in Omaha Steaks would have dispelled the deception, as [the Court holds] it did here.”

However, the “information” available to the plaintiff in Camasta v. Omaha Steaks is

analogous to the receipt issued to Plaintiff here and, just as in Camasta v. Omaha

Steaks, that information alone does not foreclose a finding that Walmart’s Shelf

Pricing practices are deceptive. Nothing on the receipt provided to Plaintiff stated

that he was or may have been overcharged for certain items. The receipt issued to

Plaintiff lists only the actual prices he was charged, not the advertised Shelf Pricing.

Thus, despite the receipt, Plaintiff would have no way of knowing that he was

overcharged unless he underwent a separate price “audit,” something not required of

ICFA victims as Judge Reilly emphasized in Kroger. See also Camasta v. Jos. A. Bank

Clothiers, 761 F.3d at 737-38 (“A sales receipt provided to a consumer after a purchase

cannot show what was supposedly advertised”) (emphasis added); see also Al Haj v.

Pfizer Inc., No. 17 C 6730, 2019 WL 3202807, at *7 (N.D. Ill. July 16, 2019)

(recognizing that under Camasta v. Jos. A. Bank Clothiers, events that occur after

the relevant purchase have no bearing on an ICFA claim).



                                          27
         Case: 23-1751    Document: 14         Filed: 07/17/2023    Pages: 110


   Accordingly, the District Court’s holding that the post-transaction issuance of a

receipt negates Walmart’s deception is based on a misreading of the case on which it

relies and is in direct contrast to other decisions holding otherwise under similar

facts.

         B.  Plaintiff Pled Facts Showing That Walmart Intended for
             Plaintiff to Rely on Its Deceptive Practice of Advertising False
             Shelf Prices
   Plaintiff pled that, as part of its deceptive practice, Walmart intends that

consumers will rely on its false Shelf Pricing in choosing which items to purchase.

(SA6 at ¶2; SA24 at ¶84). These allegations meet Plaintiff’s pleading requirements

for this element of the claim. See People ex rel. Hartigan v. Knecht Servs., Inc., 575

N.E.2d 1378, 1387 (Ill. App. 1991) (intent to deceive sufficiently pled where the

defendants advertised their services at a minimum charge, advertisement was likely

to create a misunderstanding as to the defendant’s charges, and the defendants

intended for consumers to rely on the advertisement); Vanzant, 934 F.3d at 739

(finding that plaintiffs had pled a claim under the ICFA where they alleged that the

label and marketing materials were deceptive and that the plaintiffs saw the specific

“prescription” language and symbols when they made their purchases).

   The District Court seems to have mistakenly required allegations of Walmart’s

intent to deceive its consumers. However, that is not the standard applicable to the

intent element of a deceptive practice claim. See Wigod v. Wells Fargo Bank, N.A.,

673 F.3d 547, 575 (7th Cir. 2012) (“pleading intent [to deceive] is not necessary, since

a claim for deceptive business practices under the Consumer Fraud Act does not

require proof of intent to deceive”); Chow, 286 F. Supp. 2d at 963 (“To satisfy [the

                                          28
       Case: 23-1751      Document: 14          Filed: 07/17/2023     Pages: 110


ICFA’s] intent requirement, plaintiff need not show that defendant intended to

deceive the plaintiff, but only that the defendant intended the plaintiff to rely on the

(intentionally or unintentionally) deceptive information given”); McIntosh v.

Walgreens Boots All., Inc., 135 N.E.3d 73, 80 (Ill. 2019) (same); Griffin v. Universal

Cas. Co., 654 N.E.2d 694, 700 (Ill. App. 1995) (plaintiff need not show that defendant

intended to deceive, but only that it intended plaintiff to rely on its act or

information; even innocent or negligent misrepresentation may be actionable under

the ICFA).

   However, based on its misapplication of Tudor, the District Court erroneously held

that because Plaintiff was provided with a receipt, Walmart did not intend for him to

rely on the “incorrectly scanned price.” (SA40-41). As an initial matter, the District

Court appears to have misconstrued Plaintiff’s allegations as claims that Walmart’s

scanned prices were incorrect and deceptive. However, unlike in Tudor, Plaintiff does

not allege that Walmart’s scanned prices are the result of some technical error.

Instead, Plaintiff alleges that Walmart knows it advertises lower Shelf Prices than it

charges consumers, that Walmart intended for Plaintiff to rely on its Shelf Prices, and

that Plaintiff did so to his detriment.

   Unlike in Tudor, where the retailer’s published policy provided that “if the

scanned price … is different from the price on the shelf, you will get the item for free,”

Walmart does not provide any warning to consumers that its shelf prices are

unreliable (or offer a mispriced item for free) and that therefore might suggest

Walmart does not intend for its consumers to rely on the Shelf Prices. Accord



                                           29
       Case: 23-1751      Document: 14          Filed: 07/17/2023     Pages: 110


Camasta v. Omaha Steaks, 2013 WL 4495661, at *10 (“But again, this case is

distinguishable from Tudor, for the money back guarantee [at Omaha Steaks] was

not specifically targeted at correcting overcharges based on scanner error… Instead,

it is reasonable to conclude [at the pleading stage] that defendants pursued the

alleged deceptive advertising with the intent of inducing consumers to purchase their

products”).

   Indeed, the very notion that shelf prices are not or should not be relied upon by

consumers is absurd. The very purpose of Shelf Pricing is to inform consumers of

prices so that they can compare items and make purchasing decisions. (SA6 at ¶2;

SA23 at ¶63). The suggestion that Walmart does not intend for Plaintiff (or any other

consumer) to rely on Shelf Pricing is nonsensical. If Walmart did not intend for

Plaintiff to rely on its Shelf Pricing, at the very least, it would have alerted Plaintiff

of that possibility (as in Tudor).

   Plaintiff has sufficiently pled that Walmart intended for Plaintiff to rely on its

Shelf Pricing. SA6 at ¶2; SA27 at ¶84. That is all that is required to satisfy the

“intent” element of an ICFA claim for deceptive practices.

      C.      The District Court’s Opinion Creates a New Judicial Exception
              for False Shelf Pricing Which Is in Direct Conflict with the
              Prohibitions and Intent of the ICFA and Is Against Public
              Policy

   The District Court’s findings run afoul of the very prohibitions and purpose of the

ICFA. The Illinois legislature enacted the ICFA to protect consumers against fraud,

unfair methods of competition, and other unfair and deceptive business practices. 815

ILCS 505/1; Siegel v. Shell Oil Co., 612 F.3d 932, 935 (7th Cir. 2010) (citing Robinson,


                                           30
       Case: 23-1751      Document: 14          Filed: 07/17/2023    Pages: 110


775 N.E.2d at 960). The statute is to be liberally construed to effectuate its purpose.

815 ILCS 505/2; Oliveira v. Amoco Oil Co., 776 N.E.2d 151, 166 (Ill. 2002). Indeed,

“several courts have noted that there is a clear mandate from the Illinois legislature

that the courts utilize the Act to the utmost degree in eradicating all forms of

deceptive and unfair business practices and grant appropriate remedies to injured

parties.” Gohari, 2017 WL 11676255, at *3 (citing Sanchez, 783 N.E.2d at 219-20).

   Rather than protect consumers, the District Court’s new exception to the ICFA

encourages all Illinois retailers who issue receipts to deceptively advertise prices.

Compare Bell, 982 F.3d at 477 (warning that the district court’s ruling, that as long

as the ingredient list on the back of a package could clarify any ambiguity with

respect to representations on the package’s front label, “would, we fear, encourage

deceptive advertising and labeling”). Indeed, it is not the District Court’s place to

create new exceptions to the ICFA that the legislature did not see fit to create,

particularly when the false pricing practice is per se unlawful. See JPMorgan Chase

Bank, N.A. v. Earth Foods, Inc., 939 N.E.2d 487, 491 (2010) (“We do not depart from

the plain language of a statute by reading into it exceptions, limitations or conditions

that conflict with the legislative intent”); Jefferson v. Sheahan, 664 N.E.2d 212, 213-

14 (Ill. App. 1996) (“a judicial finding of an exception for willful and wanton conduct

where none was expressly provided by the legislature contravenes a court’s duty to

give effect to legislative intent”) (internal quotations omitted).

   The District Court’s finding also wrongly imposes on Plaintiff and reasonable

consumers the requirement and cost (in time and aggravation) that they audit their



                                           31
        Case: 23-1751      Document: 14           Filed: 07/17/2023     Pages: 110


receipts by going back into the store to check each shelf price after they have

completed their purchases to confirm whether Walmart (or any other retailer) has

charged them the advertised prices. This is not the standard; nor should it be. See

Kroger, No. 2022-CH-08071 at ¶3. Tens of millions of retail transactions, likely, take

place daily. Consumers go through their daily lives purchasing items and swiping

their credit cards, reasonably relying on retailers to charge them the advertised

prices, and should not have to go back into and through a store after having paid for

their items in order to re-audit whether they were correctly charged for each of the

items they bought (in Plaintiff’s case, fifteen items; but in many cases there could be

multiples of that amount), effectively doubling the time of their shopping experience. 9

   Indeed, based on the District Court’s holding, Walmart gets a “heads I win, tails

you lose” result: it first burdens consumers by putting the onus on them to verify

Walmart’s Shelf Pricing (something Walmart itself chooses not to do despite having

the technology to do so) by going back into the store and painstakingly matching the

Shelf Pricing for every item purchased to the prices charged and reflected on receipts;

if overcharges are not noticed or if consumers do not spend the additional time

required to request a refund or adjustment, then Walmart keeps the excess price; if

consumers notice overcharges and request adjustments, Walmart may refund their

money or the amount of overpayment, which simply puts the consumers back where


9 Further, the District Court’s holding that a receipt alone negates allegations of deception

will lead to absurd results. For example, gas stations display prices on large signage along
roadways to induce consumers to purchase gas. According to the District Court’s holding,
regardless of its price advertisements, a gas station can charge a higher price at the pump
since the consumer is offered a receipt after the gas is pumped. This simply cannot be the
law.
                                             32
         Case: 23-1751      Document: 14            Filed: 07/17/2023      Pages: 110


they should have been, albeit charged with annoyance and wasted time. In fact, under

the District Court’s ruling, Walmart need not refund their money at all because the

issuance of a receipt legally washed away the fraud.

      The District Court’s decision, insulating Walmart from liability under the ICFA

for its intentional pricing errors by issuing a receipt that lists the amounts paid is

counter to the ICFA and will have pernicious effects on Illinois consumers.

II.      Plaintiff Properly Pled That Walmart’s False Shelf Pricing Is an
         Unfair Practice That Violates the ICFA

      Plaintiff pled facts and claims that Walmart’s conduct is an “unfair practice”

under the ICFA. See e.g., SA23 at ¶61; SA24 at ¶¶67-69. The District Court

erroneously dismissed Plaintiff’s unfair practice claim by finding, “Although Kahn

uses language of unfairness in his complaint, he premises his ICFA claim on

Walmart’s alleged concealment of the actual prices of its items, and so the Court

interprets it solely as a deceptive practices claim….” (SA38). The District Court

committed a legal error because under the ICFA a plaintiff may premise its claims

on either a deceptive or unfair practice, or both; and the exact same conduct can give

rise to liability under both categories. See Benson, 944 F.3d at 646-647 (finding that

the same behavior can be both a “deceptive act” and an “unfair practice”); 10

Bonahoom, 2021 WL 1020986, at *5 (holding allegations of false advertising and




10 Further highlighting the difference between an unfair practice claim and a deceptive
practice claim is this Court’s finding that Rule 8(a) applies to unfair practice claims and Rule
9(b) applies to deceptive practice claims. Vanzant, 934 F.3d at 739. Regardless, Plaintiff’s
allegations satisfy Rule 9(b) for all claims.


                                              33
        Case: 23-1751      Document: 14            Filed: 07/17/2023     Pages: 110


overcharging customers adequately pled both a deceptive and unfair practice under

ICFA). 11

   Had the District Court properly evaluated Plaintiff’s ICFA unfair practice claim,

it would have had to sustain that claim. To plead an “unfair practice” claim under the

ICFA (as opposed to a “deceptive practice,” discussed in Section I above), Plaintiff

must allege: (1) an unfair practice; (2) intent that the plaintiff rely on the unfair

practice; (3) the occurrence of the unfair practice in trade or commerce; and (4) actual

damage (5) proximately caused by the unfair practice. See Robinson, 775 N.E.2d at

960. To determine whether an act is unfair within the meaning of the ICFA, courts

look to three factors: “(1) whether the practice offends public policy; (2) whether it is

immoral, unethical, oppressive, or unscrupulous; [and / or] (3) whether it causes

substantial injury to consumers.” Benson, 944 F.3d at 647. A plaintiff need not satisfy

all three of these factors. Id. Indeed, courts have found that false advertising is in

and of itself, an unfair practice. See Bonahoom, 2021 WL 1020986 at *5. Regardless,

Plaintiff pled all three factors and sufficiently states an unfair practice claim. See e.g.,

SA23 at ¶61 (incorporating all fact allegations); SA24-25 at ¶¶67-73.

   The issue of whether false pricing advertisements are an unfair practice under the

ICFA was addressed in Gohari, where the court found that the plaintiff’s allegations


11 The District Court’s dismissal of Plaintiff’s unfair practice claim is especially egregious

because Walmart did not challenge in its Motion to Dismiss whether Plaintiff adequately
pled an unfair practice claim. Plaintiff noted this failure in his opposition to the Motion to
Dismiss and further described how Plaintiff had adequately pled the claim. (See SA5, Dkt.
No. 34 at 13-14). Walmart again failed to address the claim in its Reply brief other than in a
footnote discussing the pleading standard. (See SA5, Dkt. No. 35 at 5 n.4). Accordingly,
Walmart waived this argument. Cooper, 42 F.4th at 688.


                                             34
       Case: 23-1751      Document: 14          Filed: 07/17/2023   Pages: 110


that McDonald’s practice of listing incorrect prices on its menu and then charging

customers higher prices at checkout was an unfair practice. Gohari, 2017 WL

11676255, at *5-*6. The court found that McDonald’s false pricing practices met the

first and third factors, i.e., they violated public policy and caused substantial losses

to consumers, noting, “while the sale in this case allegedly reflects only a few dollars

in overcharges, similar overcharges, if true, could aggregate very substantial losses

and injuries to the public.” Id. at *5. The same is true here.

   With respect to the second factor, a practice is immoral, unethical, oppressive, or

unscrupulous when “it imposes a lack of meaningful choice or an unreasonable

burden on the consumer.” Saika v. Ocwen Loan Servicing, LLC, 357 F. Supp. 3d 704,

715 (N.D. Ill. 2018). Under the facts alleged (which must be accepted as true at this

stage), Walmart’s practice is incredibly unscrupulous, particularly where it takes the

position that after overcharging customers, the mere issuance of a receipt clears

Walmart of any liability. Further, Plaintiff and members of the putative class are

unreasonably burdened by Walmart’s practice, particularly under the weight of the

District Court’s ruling ensuring that Plaintiff and members of the putative class must

record all shelf prices while shopping, purchase the items to acquire a receipt, and

then compare the receipt to their own data to ensure that Walmart is, in fact,

charging its advertised pricing. (SA24 at ¶69). Thus, Plaintiff satisfies the second

factor for an unfair practice claim.

   As to the third factor, “[t]he question is only whether [defendant’s] conduct carries

the potential to harm a large number of other consumers.” Saccameno v. Ocwen Loan



                                           35
       Case: 23-1751      Document: 14          Filed: 07/17/2023      Pages: 110


Servicing, LLC, 372 F. Supp. 3d 609, 632 (N.D. Ill. 2019) (emphasis in original); see

also Stephens v. Capital One, N.A., No. 15-cv-9702, 2016 WL 4697986, at *6 (N.D. Ill.

Sept. 7, 2016) (“Defendant’s expansive consumer base similarly allows the Court to

reasonably infer that a large consumer base may be at risk for similar conduct that

has been alleged to qualify as ‘unfair’ under the ICFA”) (citation omitted); Gohari

2017 WL 11676255, at *5 (“While the sale in this case allegedly reflects only a few

dollars in overcharges, similar overcharges, if true, could aggregate very substantial

losses and injuries to the public”). Walmart is the nation’s largest retailer and, as

alleged in the Complaint, the overwhelming majority of Walmart’s sales come from

consumers purchasing merchandise at its brick and mortar locations. (SA10 at ¶21).

Walmart profits by hundreds of millions of dollars each year from this unfair practice.

(SA7 at ¶5). Thus, Plaintiff’s allegations satisfy the third factor.

   Accordingly, the Complaint adequately alleged an ICFA unfair practice claim. It

was reversible error to dismiss the claim with prejudice.

III.   The District Court Erred in Dismissing Plaintiff’s UDTPA Claim

   Plaintiff adequately alleged a UDTPA claim for injunctive relief. “In order to

obtain injunctive relief, a plaintiff must demonstrate that a defendant engaged in any

of the 12 enumerated types of deceptive conduct listed in Section 510/2.” Aliano v.

WhistlePig, LLC, No. 14 C 10148, 2015 WL 2399354, at *4 (N.D. Ill. May 18, 2015).

The enumerated types of deceptive conduct include, inter alia, “advertis[ing] goods

[at one price] with intent not to sell them [at that price]” and “conduct which similarly

creates a likelihood of confusion or misunderstanding.” 815 ILCS 510/2(a)(9) and (12).


                                           36
       Case: 23-1751      Document: 14            Filed: 07/17/2023   Pages: 110


“The UDTPA is designed to enjoin trade practices that are deceptive or confusing to

consumers.” Fullerton v. Corelle Brands, LLC, No. 18-CV-4152, 2019 WL 4750039, at

*11 (N.D. Ill. Sept. 30, 2019). UDTPA claims may proceed where the alleged deceptive

practices are directed to the market generally or otherwise implicate consumer

protection concerns. See Athey Prod. Corp. v. Harris Bank Roselle, 89 F.3d 430, 437

(7th Cir. 1996). Moreover, a claim is proper under the UDTPA when the plaintiff

alleges facts showing a likelihood of future damage. See Aliano v. Louisville Distilling

Co., 115 F. Supp. 3d 921, 928 (N.D. Ill. 2015).

   The District Court wrongly ruled that because Plaintiff “cannot plead the required

deceptive conduct or intent to deceive, ... his UDTPA claim fails for the same reasons

as his ICFA claim.” (SA41). But, as shown above, Plaintiff’s ICFA claims were not

deficient. Plaintiff adequately alleged that Walmart’s practices are deceptive,

pervasive, continuous, directed to the market, (SA11 at ¶22-23), implicate consumer

protection concerns, (SA15 at ¶¶29-31), and show a likelihood of future harm. (SA27

at ¶86).

   Plaintiff’s allegations that Walmart continues to advertise items for sale at one

price with intent to sell them at a higher price establishes deceptive conduct under

the UDTPA. Indeed, because Walmart’s false Shelf Pricing applies to different items

at various times, there is a high likelihood of future harm. (SA21-22 at ¶¶80-84).

Walmart’s false Shelf Pricing varies by product from day-to-day and Plaintiff (and all

Illinois consumers) are likely to be misled by the false Shelf Pricing in the future

regardless of whether they have been misled previously. For example, just because



                                          37
         Case: 23-1751    Document: 14         Filed: 07/17/2023    Pages: 110


Plaintiff knows he was overcharged for Hershey Syrup in August 2022, does not put

him on notice that he may be overcharged for tuna or some other product at a later

date. See Kroger, No. 2022-CH-08071 at ¶3 (finding that the plaintiff adequately pled

a risk of future harm under the UDTPA where the defendant continues to charge

more for certain grocery items than what is advertised on its shelves, that the practice

occurs frequently and harms other consumers, and that the store often offers

discounts on items, making it more expensive for consumers to merely shop

elsewhere); see Van Zeeland v. Rand McNally, 532 F. Supp. 3d 557, 563, 571-72 (N.D.

Ill. 2021) (allegations that defendant misled plaintiff and was continuing to mislead

consumers by knowingly and intentionally selling a defective product, accompanied

by request in complaint for an order requiring seller to cease and desist from engaging

in alleged wrongful conduct adequately stated UDTPA claim); Le v. Kohls Dep’t

Stores, Inc., 160 F. Supp. 3d 1096, 1109 (E.D. Wis. 2016) (finding that plaintiff has

standing to seek injunctive relief, notwithstanding plaintiff’s awareness of

defendant’s alleged false pricing scheme because like Plaintiff’s allegations here, “the

complaint is aimed at ‘company-wide, pervasive, and continuous’ false advertising

claims”). See (SA15-19 at ¶¶32-49). Accordingly, Plaintiff has adequately alleged a

UDTPA claim.

IV.      Plaintiff Properly Pled a Claim for Unjust Enrichment

      Plaintiff sufficiently pled a claim for unjust enrichment. To state an unjust

enrichment claim under Illinois law, “a plaintiff must allege that the defendant has

unjustly retained a benefit to the plaintiff’s detriment, and that defendant’s retention


                                          38
       Case: 23-1751       Document: 14        Filed: 07/17/2023    Pages: 110


of the benefit violates the fundamental principles of justice, equity, and good

conscience.” HPI Health Care Servs., Inc. v. Mt. Vernon Hosp., Inc., 545 N.E.2d 672,

679 (Ill. 1989). When a defendant “obtains money to which he is not entitled … he

ought not retain it.” Pekin Ins. Co. v. Precision Dose, Inc., 968 N.E.2d 664, 681 (Ill.

App. 2012).

   Plaintiff alleges that Walmart deceptively and unfairly misleads consumers by

advertising prices on its shelves and then overcharging consumers at checkout.

(SA30-31 at ¶¶109-118). Plaintiff also alleges that:

      Defendant knew that Plaintiff and Class Members conferred a benefit
      on Defendant and accepted or retained that benefit. Through its false,
      misleading, unfair and deceptive pricing practices, Defendant unjustly
      received and retained benefits at the expense of Plaintiff and Class
      members, specifically the difference in price between what was charged
      and what should have been charged, and the failure to provide the
      Overcharged Goods based on its representations.

(SA31 at. ¶112).

   Accordingly, Plaintiff adequately pled a claim for unjust enrichment, and it was

incorrect for the District Court to hold otherwise.


                                   CONCLUSION

   For the foregoing reasons, Plaintiff respectfully requests that this Court reverse

the District Court’s order dismissing the Complaint, direct the District Court to find

that Plaintiff stated cognizable causes of action against Walmart under the ICFA for

deceptive and unfair practices, the UDTPA, and for unjust enrichment, and remand

for further proceedings.




                                          39
       Case: 23-1751      Document: 14        Filed: 07/17/2023   Pages: 110


Respectfully submitted,

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Michael S. Bigin
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                                         40
        Case: 23-1751     Document: 14         Filed: 07/17/2023    Pages: 110


                        CIRCUIT RULE 30(d) STATEMENT

      I hereby certify that all of the materials required by Circuit Rules 30(a) and

 (b) are included in the appendix.


 Dated: July 17, 2023

 BERNSTEIN LIEBHARD LLP
 Stanley D. Bernstein
 Michael S. Bigin
 Stephanie M. Beige

By:/s/ Stanley D. Bernstein_______
   STANLEY D. BERNSTEIN
        Case: 23-1751     Document: 14         Filed: 07/17/2023    Pages: 110


                        CERTIFICATE OF COMPLIANCE

       I hereby certify that this Brief of Plaintiff-Appellant conforms to Federal Rule

 AppellateProcedure 32 and Circuit Rule 32.

       1.    This brief complies with the type-volume limitations set forth in

 Appellate Procedure 32(a)(7) and 32(g), as supplemented by Circuit Rule 32, because

 it contains 11,064 words based on the Word Count feature of Microsoft Word.

       2.    This brief complies with the typeface and type style requirements set

 forth in Circuit Rule 32 because the brief has been prepared in a proportionally

 spaced typeface using Microsoft Word in 12-point Century Schoolbook font.


 Dated: July 17, 2023

BERNSTEIN LIEBHARD LLP
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Stephanie M. Beige

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        Case: 23-1751     Document: 14        Filed: 07/17/2023   Pages: 110


                           CERTIFICATE OF SERVICE

      The Undersigned Counsel of Record for the Plaintiff-Appellant, Yoram Kahn,

 hereby certifies that on 17th day of July, 2023, I electronically filed the foregoing

 with the Clerk of the Court for the United States Court of Appeals for the Seventh

 Circuit by using the CM/ECF system. I certify that all participants in the case are

 registered CM/ECF users and will be served by the CM/ECF system.


 Dated: July 17, 2023

 BERNSTEIN LIEBHARD LLP
 Stanley D. Bernstein
 Michael S. Bigin
 Stephanie M. Beige

By:/s/ Stanley D. Bernstein_______
   STANLEY D. BERNSTEIN




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Case: 23-1751   Document: 14   Filed: 07/17/2023   Pages: 110




                ADDENDUM A
          Case: 23-1751        Document: 14             Filed: 07/17/2023       Pages: 110



                IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
                    COUNTY DEPARTMENT, CHANCERY DIVISION

LISABETH GANSBERG, on behalf of herself
and all others similarly situated,
                                                     Case No. 2022-CH-08071
        Plaintiff,
                                                     Judge Eve M. Reilly
V.

THE KROGER CO .,                                     Calendar: 7

        Defendant.

                                              ORDER
        This matter coming to be heard on Defendant, The Kroger Co. 's Motion to Dismiss, due
notice having been given and the Comt being fully advised in the premises , having read the
briefs and heard oral argument,

IT IS HEREBY ORDERED:

1. Defendant's Motion to Dismiss as to Count I is GRANTED. A buyer claiming breach of
   contract for a sale of goods must notify the seller of any breach within a reasonable time of
   d iscove1ing any such breach, or the buyer will be ba1Ted from any remedy . Connick v. Suzuki
   Motor Co ., 174 Ill. 2d 482, 492 (1996) (quoting 810 ILCS 5/2-607). Pre-suit notice of a
   breach is sufficient if it "lets the seller know that a pa1ticular 'transaction is still troublesome
   and must be watched. ' 810 ILCS Ann. 5/2-607." Id. Direct notice is not required if the seller
   has actual knowledge of the particular product, or, if the buyer has a claim for personal
   injury, the seller is deemed reasonab1y notified by the filing of the buyer's complaint. Id.
   While it is unnecessaiy to list specific claims in giving notice under section 2-607, it is
   essential that the seller has notice that a particular transaction is "troublesome and must be
   watched." Id. at 493. Even if a seller is aware of problems, the notice requirement is only
   satisfied where the seller somehow knows of the problem of a particular product purchased
   by a particular buyer. Id. at 494.

     Here, Plaintiff alleges that when she would "catch the overcharge" she would "attempt to
     convince the store to charge the co1Tect p1ice," and that on "at least four occasions, the store
     refused to refund the overcharge until Plaintiff went back to the isle [sic] where the product
     was and took a picture of the price to document the overcharge." Comp!. i1 8. Plaintiff
     provides two instances where she alleges she was charged an inco1Tect price for a product: on
     July 3, 2022, for l.34lbs of Northwest Red Che1Ties, and on July 10, 2022, for five Slim Jim
     Sticks. Comp 1. i1i1 11-14. When ruling on a motion to dismiss, the Court must interpret all
     pleadings and supporting documents in a light most favorable to the nonmoving party, and
     should only grant the motion if plaintiff can prove no set of facts that would suppmt a cause
     of action. Stephen L. Winternitz, Inc. v. Nat'! Bank, 289 Ill. App. 3d 753, 755 (1st Dist.
     1997). Plaintiff alleges that Defendant has "actual knowledge of the facts underlying the
       Case: 23-1751       Document: 14            Filed: 07/17/2023       Pages: 110



  breach of contract-i.e., for every grocery product Defendant knows the price it advertised
  and the price it actually charged customers." Comp 1. ~ 10. However, Plaintiff does not allege
  anywhere in her complaint that for the specified purchases she infonned Defendant of the
  p1ice discrepancy. Plaintiff does allege that "[o]ften, Mrs. Gansberg would catch the
  overcharge and attempt to convince the store to charge the coITect price," and that over a
  period of three to four months, Plaintiff "spent several hours working with the store manager,
  the regional manager and the corporate Director of Strategic Brand Development." Comp!.~
  8. While, this demonstrates Defendant was generally aware of an issue, these allegations do
  not show that Defendant was aware of the issue with a paiticular product purchased by a
  patticular buyer. Connick, 174 Ill. 2d at 494 (holding that even if a manufacturer is aware of
  problems with a product line, the notice requirement of section 2-607 is only satisfied where
  the manufacturer is aware of the trouble with a paiticular purchase by a particular buyer).
  Therefore, Plaintiff has failed to allege that Defendant had pre-suit notice of the particular
  transactions at issue as required under 2-607.

  In all the transactions that Plaintiff alleges Defendant was app1ised of the breach, Plaintiff
  does not allege that Defendant did not issue a refund of the overcharged amount. Plaintiff
  alleges that when she caught the overcharge she would "attempt to convince the store to
  charge the coITect price," which invoked a "variety of responses" from Defendant employees.
  Comp!. ii 8. However, Plaintiff continues that her "challenging the price would be met with
  reluctance or refusal to correct the price," and that on at least four occasions, "the store
  refused to refund the overcharge until Plaintiff went back to the isle [sic] where the product
  was and took a picture of the price to document the overcharge. In any event, it consistently
  took a minimum of 30 minutes to an hour to get the price corrected or the overcharge
  refunded." Comp!. ~ 8. Taking Plaintiff's allegations as true, of the transactions Plaintiff
  brought to Defendant's attention, thereby satisfying the pre-notice requirements under 2-607,
  Plaintiff ultimately cannot plead she suffered any damages as a result of Defendant 's alleged
  breach. Plaintiff's claim for breach of contract is, therefore, dismissed WITH PREJUDICE.

2. Defendant's Motion to Dismiss Counts II of Plaintiff's Complaint is DENIED. Under section
   two of the Illinois Consumer Fraud Act, "any practice described in Section 2 of the 'Unif01m
   Deceptive Trade Practices Act,"' is considered a violation of the Consumer Fraud Act
   "whether any person has in fact been misled, deceived or damaged." 815 ILCS 505/2. The
   elements of a claim under the ILCF A are usually : (I) a deceptive act or practice by the
   defendant; (2) the defendant's intent that the plaintiff rely on the deception; and (3) the
   occurrence of the deception during a course of conduct involving trade or commerce.
   Robinson v. Toyota Motor Credit Corp., 201 lll. 2d 403 , 417 (2002).
  Defendant relies on Tudor v. Jewel Food Stores to allege that Plaintiff cannot properly allege
  the second element . 288 Ill. App. 3d 207 (1st Dist. 1997). Tudor is, however, distinguishable
  from these facts. In Tudor, the defendant had a money-back policy that plainly stated that if
  the scanned p1ice was different than the shelf price the item would be free. id. at 210.
  Additionally, the plaintiff had alleged the price discrepancy was due to the scanning
  technology, which had a 96% accuracy rate. Id. These facts, combined with the plaintiff
  being given a receipt, indicated that there was no intent to deceive or deception by the
  defendant. id. Contra1ily, Plaintiff here pleads that, upon notifying Defendant of the
  overcharges, Defendant would give a "variety of responses" and that on at least four separate
       Case: 23-1751         Document: 14            Filed: 07/17/2023        Pages: 110



  occasions Defendant "refused to refund the overcharge" until Plaintiff proved that the
  charged price was correct. Comp!. ,i 8. Plaintiff alleges this issue is not due to a scanning
  technology problem, but human e1rnr. Comp!. ,i 15 . Plaintiff fu1ther alleges that despite
  Defendant being aware of the overcharging issue "Defendant continues to routinely charge
  more for various groceries than their adve1tised price." Comp 1. ii 9.
  Defendant further asse1ts that "Plaintiff acknowledges that she was not deceived or misled,"
  because Plaintiff attached a photo of the adve1tised p1ice "indicating she knew what the
  adve1tised discounted price was at the time of purchase and should have known it was not
  applied when the item was scanned and she was provided the receipt ." Mot. at 7. 1l1e
  statutory language of the Illinois Unifo1111 Deceptive Trade Practices Act deems "making
  false or misleading statements of fact concerning the reasons for, existence of, or amounts of
  price reductions," unlawful. Notwithstanding that language, by Defendant's logic, Plaintiff,
  and all others sinularly situated, should record all pricing of their shopping, purchase the
  items to acquire a receipt, and then compare the receipt to their own data to ensure that
  Defendant is, in fact, honoring its own adve1tised p1icing, and Plaintiff's failure to do so
  would excuse Defendant from having to charge its adve1tised prices as Plaintiff "should have
  known" some adve1tised p1ices were not what Plaintiff was actually charged. Should Plaintiff
  then realize she was overcharged , she must not have deceived by Defendant's practice and
  Defendant cannot be liable under the UDTPA and ICFA because, any alleged deceitful act
  did not actually deceive Plaintiff. Despite Defendant's creative approach, the language of the
  ICFA states that "any practice desc1ibed in Section 2 of the 'Uniform Deceptive Trade
  Practices Act," approved August 5, 2056, in the conduct of any trade or commerce are hereby
  declared unlawful whether any person has in fact been misled, deceived or damaged
  thereby." 815 ILCS 505/2 (emphasis added). Plaintiff additionally alleges that she has
  "repeatedly brought these overcharges to Defendant's attention, and Defendant continues its
  practice of overcharging," and therefore, Defendant's conduct is intentional. Comp!. ,i 52. As
  such, Plaintiff has sufficient alleged facts of a deceitful act to survive a 2-615 motion to
  dismiss, and Defendant's motion is denied.
3. Defendant's Motion to Dismiss Count III is DENIED. Defendant argues that Plaintiff cannot
   allege a future hann and therefore cannot state a cause of action under the UDTP A. In Popp
   v. Cash Station, the First Circuit held that a consumer action is possible under the UDTP A if
   the consumer alleges facts to indicate that they are likely to be harmed in the future . 244 Ill.
   App. 3d, 87, 99 (1st Dist. 1992). In Popp, the Comt held that a claim for inadequate security
   at A TMs that put users at "risk of injmy from third-party attacks" failed to allege a future
   ha1m as the plaintiff was now aware that there was no security provided at the A TMs. Id. at
   91. The plaintiff had alleged that the defendant's conduct "created a likelihood of confusion
   and misunderstanding for Plaintiff in possession and /or using their Cash Station cards, which
   threatens their personal secmity." Id. at 99. 1l1e Court found that, besides only that bare
   conclus01y allegation, the plaintiff alleged no facts regarding her confusion, and that because
   the plaintiff was now aware that the A TM machines provided "inadequate security," there
   could be no confusion in the future arising from the defendant's nondisclosure in marketing
   their services. Id.
  Taking all well-pied facts as true, Plaintiff here alleges that: "Maiiano 's frequently charges,
  or attempts to charge" more for "certain groce1y items than the price for the product stated on
  the shelf;" "these practices occur frequently and hann other customers at this Mariano's store
       Case: 23-1751        Document: 14             Filed: 07/17/2023       Pages: 110


  and other Kroger brand stores in Illinois;" "Defendant still frequently overcharges for
  groce1y items;" "Defendant's stores .. .regularly offer discounts on ce1tain grocery items
  making them less expensive that [sic] shopping for competitors," therefore, "Defendant
  cannot assert that Plaintiff and class members can merely shop at a different store to avoid
  damages, as they will end up paying more . .. for ce1tain items." Compl. ,iiJ 7, 16, 50, 51.
  These factual allegations sufficiently allege a risk of future harm. Unlike in Popp, where the
  plaintiff's future ham1 was alleged confusion based on an undisclosed fact she was now
  aware of and therefore could no longer be confused about, Plaintiff alleges that Defendant
  continues to overcharge customers for items by entering the wrong price or not applying
  adve1tised discounts . Compl. ii 50. Defendant's contention that Plaintiff is essentially
  assuming the risk of being incorrectly charged for items does not negate Plaintiff's well-
  plead facts . See, Mot . at 5 ("Given Plaintiff's awareness of past human error inputting pricing
  and because she can avoid the alleged problem by shopping elsewhere, she cannot allege the
  likelihood of future hmm) . Plaintiff has alleged sufficient facts to b1ing a claim und er the
  UDTPA and Defendant's motion is denied.
4. Defendant has 28 days to answer Count II and Count III of Plaintiff's Complaint.
5. This matter is set for status on the pleadings on May 8, 2023, at 9:30 am.

                                                                    Judge Eve M. Rellly
                                                                        APR 0·7 202~
                                              ENTERED:
                                                                    Circuit Court-2122


                                              Judge Eve M. Reilly
Case: 23-1751   Document: 14   Filed: 07/17/2023   Pages: 110




          REQUIRED SHORT APPENDIX
    Case: 23-1751                Document: 14                     Filed: 07/17/2023                Pages: 110




                                          TABLE OF CONTENTS
                                                                                                                  PAGE

District Court Docket Entries . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SA1

Complaint, filed August 9, 2022 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SA6

Opinion and Order of the Honorable Sara L. Ellis,
    filed March 21, 2023 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SA34

Judgment, filed March 21, 2023 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SA44

Notice of Appeal, filed April 19, 2023 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SA45

Seventh Circuit Rule 3(c) Docketing Statement,
    filed April 19, 2023 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . SA47
     Case: 23-1751          Document: 14 SA1 Filed: 07/17/2023           Pages: 110

  Case: 1:22-cv-04177 Document #: 43 Filed: 04/20/23 Page 1 of 22 PageID #:254


                                                                          APPEAL,KIM,TERMED
                          United States District Court
       Northern District of Illinois − CM/ECF NextGen 1.7.1.1 (Chicago)
                CIVIL DOCKET FOR CASE #: 1:22−cv−04177
                                 Internal Use Only

Kahn v. Walmart, Inc.                                    Date Filed: 08/09/2022
Assigned to: Honorable Sara L. Ellis                     Date Terminated: 03/21/2023
Demand: $9,999,000                                       Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Fraud                           Nature of Suit: 370 Other Fraud
                                                         Jurisdiction: Diversity
Plaintiff
Yoram Kahn                                 represented by Scott H. Gingold
individually and on behalf of all others                  Gingold Legal
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V.


                                                                                              1
   Case: 23-1751          Document: 14 SA2 Filed: 07/17/2023                        Pages: 110

 Case: 1:22-cv-04177 Document #: 43 Filed: 04/20/23 Page 2 of 22 PageID #:255


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 Date Filed     #   Docket Text
 08/09/2022     1   COMPLAINT filed by Yoram Kahn; Jury Demand. Filing fee $ 402, receipt number
                    AILNDC−19726868.(Gingold, Scott) (Entered: 08/09/2022)
 08/09/2022     2   CIVIL Cover Sheet (Gingold, Scott) (Entered: 08/09/2022)
 08/09/2022         CASE ASSIGNED to the Honorable Sara L. Ellis. Designated as Magistrate Judge the
                    Honorable Young B. Kim. Case assignment: Random assignment. (jb, ) (Entered:
                    08/09/2022)
 08/09/2022         CLERK'S NOTICE: Pursuant to Local Rule 73.1(b), a United States Magistrate Judge
                    of this court is available to conduct all proceedings in this civil action. If all parties
                    consent to have the currently assigned United States Magistrate Judge conduct all
                    proceedings in this case, including trial, the entry of final judgment, and all post−trial
                    proceedings, all parties must sign their names on the attached Consent To form. This
                    consent form is eligible for filing only if executed by all parties. The parties can also
                    express their consent to jurisdiction by a magistrate judge in any joint filing, including
                    the Joint Initial Status Report or proposed Case Management Order. (jb, ) (Entered:
                    08/09/2022)
 08/09/2022     3   ATTORNEY Appearance for Plaintiff Yoram Kahn by Scott H. Gingold (Gingold,
                    Scott) (Entered: 08/09/2022)
 08/10/2022         SUMMONS Issued as to Defendant Walmart, Inc. (jb, ) (Entered: 08/10/2022)
 08/10/2022     4   MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                    AILNDC−19730050. re Stanley Bernstein (Gingold, Scott) (Entered: 08/10/2022)
 08/10/2022     5   ATTORNEY Appearance for Plaintiff Yoram Kahn by Sandy Liebhard. Filing fee $
                    150, receipt number AILNDC−19730083. re Sandy Liebhard (Gingold, Scott) (Docket
                    text modified by Clerk's Office on 8/30/2022) (lxk, ). (Entered: 08/10/2022)
 08/10/2022     6   MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                    AILNDC−19730093. re Stephanie Beige (Gingold, Scott) (Entered: 08/10/2022)


                                                                                                                 2
  Case: 23-1751         Document: 14 SA3 Filed: 07/17/2023                      Pages: 110

Case: 1:22-cv-04177 Document #: 43 Filed: 04/20/23 Page 3 of 22 PageID #:256



08/10/2022    7   REQUEST for Clerk of Court to refund filing fee in the amount of 150, receipt no.
                  AILNDC−19730083, (Gingold, Scott) (Entered: 08/10/2022)
08/10/2022    8   MOTION for Leave to Appear Pro Hac Vice Filing fee $ 150, receipt number
                  AILNDC−19730174. re Sandy Liebhard (Gingold, Scott) (Entered: 08/10/2022)
08/11/2022    9   REFUND REQUEST DENIED re REQUEST for Clerk of Court to refund filing fee 7
                  . (lw, ) (Entered: 08/11/2022)
08/11/2022   10   REQUEST for Clerk of Court to refund filing fee in the amount of 150, receipt no.
                  AILNDC−19730083, regarding motion to appear pro hac vice 5 (Gingold, Scott)
                  (Entered: 08/11/2022)
08/17/2022   11   REFUND PROCESSED re REQUEST for Clerk of Court to refund filing fee in the
                  amount of 150, receipt no. AILNDC−19730083, regarding motion to appear pro hac
                  vice 5 (Gingold, Scott) 10 (td, ) (Entered: 08/17/2022)
08/23/2022   12   SUMMONS Returned Executed by Yoram Kahn as to Walmart, Inc. on 8/18/2022,
                  answer due 9/8/2022. (Gingold, Scott) (Entered: 08/23/2022)
08/30/2022   13   ORDER: The initial status conference in this matter is set for 10/12/22 at 9:30 a.m.
                  The parties are directed to review the procedures and requirements for this conference
                  on Judge Ellis' website and to submit the required Initial Status Report by 10/5/22.
                  Members of the public and media will be able to call in to listen to this hearing. The
                  call−in number is (866) 434−5269 and the access code is 8087837. Counsel of record
                  will receive an email with instructions to join the call. Throughout the telephonic
                  hearing, each speaker will be expected to identify themselves for the record before
                  speaking. Persons granted remote access to proceedings are reminded of the general
                  prohibition against photographing, recording, and rebroadcasting court proceedings.
                  Violation of these prohibitions may result in sanctions, including removal of
                  court−issued media credentials, restricted entry to future hearings, denial of entry to
                  future hearings, or any other sanctions deemed necessary by the Court. Motions for
                  leave to appear pro hac vice 4 , 6 , and 8 are granted. The appearance of Sandy A.
                  Liebhard 5 is incorrectly filed as a motion and the motion is terminated. Signed by the
                  Honorable Sara L. Ellis on 8/30/2022. Mailed notice. (lxk, ) (Entered: 08/30/2022)
09/02/2022   14   ATTORNEY Appearance for Defendant Walmart, Inc. by Daniel Michael Blouin
                  (Blouin, Daniel) (Entered: 09/02/2022)
09/02/2022   15   ATTORNEY Appearance for Defendant Walmart, Inc. by Frank A. Battaglia
                  (Battaglia, Frank) (Entered: 09/02/2022)
09/06/2022   16   MOTION by Defendant Walmart, Inc. for extension of time to Respond to Class
                  Action Complaint (Blouin, Daniel) (Entered: 09/06/2022)
09/06/2022   17   NOTICE of Motion by Daniel Michael Blouin for presentment of extension of time 16
                  before Honorable Sara L. Ellis on 9/13/2022 at 09:45 AM. (Blouin, Daniel) (Entered:
                  09/06/2022)
09/12/2022   18   MINUTE entry before the Honorable Sara L. Ellis: The Court grants Defendant's
                  motion for extension of time to answer or otherwise plead 16 . Defendant's responsive
                  pleading is due by 9/29/2022. Mailed notice (rj, ) (Entered: 09/12/2022)
09/27/2022   19   NOTIFICATION of Affiliates pursuant to Local Rule 3.2 by Walmart, Inc. (Blouin,
                  Daniel) (Entered: 09/27/2022)



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  Case: 23-1751         Document: 14 SA4 Filed: 07/17/2023                       Pages: 110

Case: 1:22-cv-04177 Document #: 43 Filed: 04/20/23 Page 4 of 22 PageID #:257



09/28/2022   20   MOTION by Defendant Walmart, Inc. for extension of time to file answer regarding
                  complaint 1 (Blouin, Daniel) (Entered: 09/28/2022)
09/28/2022   21   NOTICE of Motion by Daniel Michael Blouin for presentment of motion for extension
                  of time to file answer 20 before Honorable Sara L. Ellis on 10/4/2022 at 09:45 AM.
                  (Blouin, Daniel) (Entered: 09/28/2022)
10/03/2022   22   MINUTE entry before the Honorable Sara L. Ellis: The Court grants Defendant's
                  motion for extension of time to answer or otherwise plead 20 . Defendant's responsive
                  pleading is due by 10/6/2022. Mailed notice (rj, ) (Entered: 10/03/2022)
10/04/2022   23   MOTION by Plaintiff Yoram Kahn for extension of time re initial status hearing and
                  report (Joint Motion) (Gingold, Scott) (Entered: 10/04/2022)
10/04/2022   24   (Joint Motion) NOTICE of Motion by Scott H. Gingold for presentment of extension
                  of time 23 before Honorable Sara L. Ellis on 10/11/2022 at 09:45 AM. (Gingold,
                  Scott) (Entered: 10/04/2022)
10/06/2022   25   MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Defendant
                  Walmart, Inc. (Blouin, Daniel) (Entered: 10/06/2022)
10/06/2022   26   MEMORANDUM by Walmart, Inc. in support of Motion to Dismiss for Failure to
                  State a Claim 25 (Attachments: # 1 Index of Exhibits, # 2 Exhibit A, # 3 Exhibit
                  B)(Blouin, Daniel) (Entered: 10/06/2022)
10/06/2022   27   NOTICE of Motion by Daniel Michael Blouin for presentment of Motion to Dismiss
                  for Failure to State a Claim 25 before Honorable Sara L. Ellis on 10/11/2022 at 09:45
                  AM. (Blouin, Daniel) (Entered: 10/06/2022)
10/06/2022   28   MOTION by Defendant Walmart, Inc. to set a briefing schedule on Motion to Dismiss
                  Plaintiff's Complaint (Joint) (Blouin, Daniel) (Entered: 10/06/2022)
10/06/2022   29   NOTICE of Motion by Daniel Michael Blouin for presentment of motion by filer to set
                  a briefing schedule 28 before Honorable Sara L. Ellis on 10/11/2022 at 09:45 AM.
                  (Blouin, Daniel) (Entered: 10/06/2022)
10/11/2022   30   MINUTE entry before the Honorable Sara L. Ellis: The Court grants the parties'
                  motion to set a briefing schedule 28 and sets the following briefing schedule on
                  Defendant's motion to dismiss 25 : Plaintiff's response is due by 11/22/2022 and
                  Defendant's reply is due by 12/22/2022. The Court grants the parties' motion for
                  extension of time 23 . The Court strikes the status date set for 10/12/2022 and resets it
                  to 3/22/2023 at 9:30 a.m. for ruling on Defendant's motion to dismiss. The Court stays
                  discovery pending ruling on Defendant's motion to dismiss. The Court will set a date
                  for submission of the initial status report on ruling on Defendant's motion to dismiss.
                  Members of the public and media will be able to call in to listen to this hearing. The
                  call−in number is (866) 434−5269 and the access code is 8087837. Counsel of record
                  will receive an email with instructions to join the call. Throughout the telephonic
                  hearing, each speaker will be expected to identify themselves for the record before
                  speaking. Persons granted remote access to proceedings are reminded of the general
                  prohibition against photographing, recording, and rebroadcasting court proceedings.
                  Violation of these prohibitions may result in sanctions, including removal of
                  court−issued media credentials, restricted entry to future hearings, denial of entry to
                  future hearings, or any other sanctions deemed necessary by the Court. Mailed notice
                  (rj, ) (Entered: 10/11/2022)
11/14/2022   31

                                                                                                              4
  Case: 23-1751         Document: 14 SA5 Filed: 07/17/2023                         Pages: 110

Case: 1:22-cv-04177 Document #: 43 Filed: 04/20/23 Page 5 of 22 PageID #:258



                  MOTION by Plaintiff Yoram Kahn for leave to file excess pages (UNOPPOSED)
                  (Gingold, Scott) (Entered: 11/14/2022)
11/14/2022   32   (UNOPPOSED) NOTICE of Motion by Scott H. Gingold for presentment of motion
                  for leave to file excess pages 31 before Honorable Sara L. Ellis on 11/17/2022 at 01:45
                  PM. (Gingold, Scott) (Entered: 11/14/2022)
11/17/2022   33   MINUTE entry before the Honorable Sara L. Ellis: The Court grants Plaintiff's motion
                  for leave to file excess pages 31 and limits Plaintiff's response brief to 25 pages.
                  Mailed notice (rj, ) (Entered: 11/17/2022)
11/22/2022   34   MEMORANDUM by Yoram Kahn in Opposition to Motion to Dismiss for Failure to
                  State a Claim 25 (Attachments: # 1 Exhibit A)(Beige, Stephanie) (Entered:
                  11/22/2022)
12/22/2022   35   REPLY by Walmart, Inc. to MOTION TO DISMISS FOR FAILURE TO STATE A
                  CLAIM by Defendant Walmart, Inc. 25 (Blouin, Daniel) (Entered: 12/22/2022)
12/29/2022   36   ANNUAL REMINDER: Pursuant to Local Rule 3.2 (Notification of Affiliates), any
                  nongovernmental party, other than an individual or sole proprietorship, must file a
                  statement identifying all its affiliates known to the party after diligent review or, if the
                  party has identified no affiliates, then a statement reflecting that fact must be filed. An
                  affiliate is defined as follows: any entity or individual owning, directly or indirectly
                  (through ownership of one or more other entities), 5% or more of a party. The
                  statement is to be electronically filed as a PDF in conjunction with entering the
                  affiliates in CM/ECF as prompted. As a reminder to counsel, parties must supplement
                  their statements of affiliates within thirty (30) days of any change in the information
                  previously reported. This minute order is being issued to all counsel of record to
                  remind counsel of their obligation to provide updated information as to additional
                  affiliates if such updating is necessary. If counsel has any questions regarding this
                  process, this LINK will provide additional information. Signed by the Executive
                  Committee on 12/29/2022: Mailed notice. (tg, ) (Entered: 12/30/2022)
03/21/2023   37   OPINION AND ORDER. For the reasons stated in the accompanying Opinion and
                  Order, the Court grants Walmart's motion to dismiss 25 . The Court dismisses Kahn's
                  individual claims with prejudice and his putative class claims without prejudice. Civil
                  case terminated. Signed by the Honorable Sara L. Ellis on 3/21/2023:Mailed notice(rj,
                  ) (Entered: 03/22/2023)
03/21/2023   38   ENTERED JUDGMENT. Mailed notice(rj, ) (Entered: 03/22/2023)
04/19/2023   39   PAYMENT by Yoram Kahn of Filing fee $ 505, receipt number AILNDC−20556211.
                  (Beige, Stephanie) (Entered: 04/19/2023)
04/19/2023   40   NOTICE of appeal by Yoram Kahn regarding orders 38 , 37 Filing fee $ 505, receipt
                  number AILNDC−20556405. Receipt number: n (Beige, Stephanie) (Entered:
                  04/19/2023)
04/19/2023   41   DOCKETING Statement by Yoram Kahn regarding notice of appeal 40 (Beige,
                  Stephanie) (Entered: 04/19/2023)




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     Case: 23-1751          Document: 14 SA6 Filed: 07/17/2023                  Pages: 110

      Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 1 of 28 PageID #:1




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION




 YORAM KAHN, individually and on behalf               Case No. 22-cv-4177
 of all others similarly situated,
                                                      CLASS ACTION COMPLAINT
                        Plaintiffs,
                                                      DEMAND FOR A JURY TRIAL
         v.

 WALMART, INC.,

                        Defendant.



       Plaintiff Yoram Kahn, by and through his undersigned counsel, brings this class action

complaint against Defendant Walmart, Inc. (“Walmart” or the “Defendant”), individually and on

behalf of all others similarly situated, and alleges upon personal knowledge as to his own acts

and experiences, and as to all other matters, upon information and belief, including the

investigation conducted by Plaintiff’s counsel.

                                  NATURE OF THE ACTION

       1.      This action seeks to address and remedy the unfair and deceptive business

practices Walmart has engaged in by placing false and misleading price advertisements on shelf

signs and price displays (“Shelf Pricing”) throughout its stores in Illinois and nationwide.

       2.      Walmart uses Shelf Pricing to advertise prices for merchandise to enable

consumers to calculate pricing differences among brands, identify bargains, and to induce

consumers to purchase the advertised merchandise. Consumers reasonably rely on Shelf Pricing




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     Case: 23-1751             Document: 14 SA7 Filed: 07/17/2023                Pages: 110

      Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 2 of 28 PageID #:2




to make informed purchasing decisions, and reasonably expect to pay the advertised Shelf Price

when they reach the checkout.

        3.      However, Walmart’s Shelf Pricing frequently misrepresents the prices consumers

are charged at the point of sale. As a result, consumers fall victim to a classic “bait and switch,”

and unknowingly overpay Walmart a higher price for the falsely-advertised merchandise at

checkout (the “Overcharged Goods”).

        4.      The false and misleading Shelf Pricing affects various merchandise throughout

Walmart’s stores, with Overcharged Goods costing consumers higher prices in a range of 5-10%,

and some much higher.

        5.      Walmart is well aware that it is deceiving its consumers. In fact, Walmart has

been fined for this practice in multiple states. But preventing Walmart from continuing its unfair

and deceptive practices thus far has been a game of whack-a-mole for local agencies because

even when Walmart is fined, the fines are a drop in the bucket for the $500 billion-dollar retailer

and dwarf the hundreds of millions of dollars Walmart profits each year from selling

Overcharged Goods. So, Walmart pays the fines but continues its misleading, unfair and

deceptive pricing practices.

        6.      Walmart’s false, misleading, unfair and deceptive pricing practices violate the

consumer protection statutes of Illinois and the other states in the Multi-State Classes, as well as

the common laws of all states where Overcharged Goods are sold at Walmart stores.

        7.      Plaintiff brings this action on behalf of a class of persons who purchased

Overcharged Goods from Walmart stores located in the United States within the applicable

statute of limitations (the Classes are defined below), and seeks, inter alia, actual damages,

refunds, injunctive relief, attorneys’ fees, and the costs of this litigation.



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        Case: 23-1751            Document: 14 SA8 Filed: 07/17/2023                      Pages: 110

         Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 3 of 28 PageID #:3




                                     JURISDICTION AND VENUE

          8.       The Court has original jurisdiction under 28 U.S.C. § 1332(d)(2) because the

matter in controversy, exclusive of interests and costs, exceeds the sum or value of $5,000,000

and is a class action in which there are in excess of 100 class members, and some of the members

of the class are citizens of states different from Defendant.

          9.       This Court has personal jurisdiction over Defendant because Defendant conducts

significant amounts of business in Illinois. Walmart has 184 retail stores in Illinois, with 58,139

employees working in those stores.1 Additionally, because Defendant marketed, promoted,

distributed, and sold the Overcharged Goods to Plaintiff in Illinois, the claims arise out of or

relate to Defendant’s contacts with Illinois, subjecting Defendant to personal jurisdiction in

Illinois.

          10.      Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391(a) and (b)

because a substantial part of the events and omissions giving rise to Plaintiff’s claims occurred in

this judicial district.

          11.      Venue is also proper under 28 U.S.C. § 1391(c) because Defendant is a

corporation that does business in and is subject to personal jurisdiction in this District.

                                                  PARTIES

          12.      Plaintiff Yoram Kahn is a citizen of Ohio.

          13.      On August 2, 2022, while traveling in Illinois, Plaintiff purchased Overcharged

Goods at a Walmart store located in this judicial district at 5630 W. Touhy Avenue, Niles,

Illinois.

          14.      Walmart is a multi-national corporation that operates chains of retail and grocery

stores. Walmart is incorporated in Delaware and its principal offices are located in Bentonville,
1
    See https://corporate.walmart.com/about/illinois (claiming figures are as of April 2022).

                                                       3
        Case: 23-1751          Document: 14 SA9 Filed: 07/17/2023                 Pages: 110

        Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 4 of 28 PageID #:4




Arkansas. Walmart has 184 retail stores in Illinois, employing 58,139 in these stores, and

distributes, markets, advertises, and sells the Overcharged Goods in Illinois, this judicial district,

and throughout the United States.

                                    FACTUAL ALLEGATIONS

          A.      Walmart’s Business Model

          15.     Walmart’s business model focuses on “help[ing] people around the world save

money and live better . . .” and its strategy is “to make every day easier for busy families . . . and

make trust a competitive advantage . . . includ[ing] our commitment to price leadership, which

has been and will remain a cornerstone of our business. . . .”2

          16.     Walmart’s operations comprise of three reportable business segments: Walmart

U.S., Walmart International and Sam’s Club. Walmart U.S. is the Company’s largest segment,

operating in all 50 states, Washington D.C. and Puerto Rico. Walmart U.S. is a mass

merchandiser of consumer products, operating under the “Walmart” and “Walmart

Neighborhood Market” brands, including Walmart.com.3

          17.     Walmart U.S. does its business in three strategic merchandise units:

          Grocery: consisting of a full line of grocery items, including dry grocery, snacks, dairy,
          meat, produce, deli & bakery, frozen foods, alcoholic and nonalcoholic beverages, as
          well as consumables such as health and beauty aids, pet supplies, household chemicals,
          paper goods and baby products;

          General Merchandise: consisting of: Entertainment (e.g., electronics, toys, seasonal
          merchandise, wireless, video games, movies, music and books); Hardlines (e.g.,
          automotive, hardware and paint, sporting goods, outdoor living and stationery); Apparel
          (e.g., apparel for men, women, girls, boys and infants, as well as shoes, jewelry and


2
    Walmart 2022 Annual Report, Walmart, Inc. (March 18, 2022) at 6, available at:
https://s2.q4cdn.com/056532643/files/doc_financials/2022/ar/WMT-FY2022-Annual-Report.pdf (the
“2022 Annual Report”).
3
    2022 Annual Report at 7.


                                                   4
          Case: 23-1751       Document: 14SA10Filed: 07/17/2023                  Pages: 110

          Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 5 of 28 PageID #:5




           accessories); and Home (e.g., housewares and small appliances, bed & bath, furniture and
           home organization, home furnishings, home décor, fabrics crafts).

           Health and Wellness: including pharmacy, over-the-counter-drugs and other medical
           products, optical services and other clinical services.4

           18.    Historically, the Walmart U.S. segment has had the highest gross profit as a

percentage of net sales (“gross profit rate”). In addition, the Walmart U.S. segment has

historically contributed the greatest amount to Walmart’s net sales and operating income.5

           19.    For its fiscal years, Walmart reported: $572.754 billion in revenues from February

1, 2021 to January 31, 2022; $559.151 billion in revenues from February 1, 2020 to January 31,

2021; and $523.964 billion in revenues from February 1, 2019 to January 31, 2020.6

           20.    Walmart’s total consolidated revenues are driven by its revenues from Walmart

U.S. Specifically, in its fiscal year 2022, Walmart U.S. alone reported $470.295 billion in

revenues representing over 80% of Walmart’s total revenues. Additionally, no individual country

other than the U.S. had total revenues that were material to Walmart’s reported consolidated total

revenues.7

           21.    The overwhelming majority of Walmart U.S.’s sales come from consumers

purchasing merchandise at Walmart brick and mortar store locations. For fiscal year 2022, in-

store sales represented approximately 88% of Walmart U.S.’s total net sales.8




4
    Id.

5
    Id.

6
    Id. at 38.

7
    Id. at 78.

8
    Id.

                                                  5
     Case: 23-1751          Document: 14SA11Filed: 07/17/2023                 Pages: 110

      Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 6 of 28 PageID #:6




        B.      Walmart Deceived Plaintiff and Class Members with its False, Misleading,
                Unfair and Deceptive Pricing Practices Resulting in Actual Damage to
                Plaintiff and Class Members

        22.     Walmart uses Shelf Pricing to advertise prices, price changes and bargains inside

its stores, which are designed to, and do, induce consumers in Illinois and throughout the United

States, including Plaintiff and Class members, into selecting the advertised goods from among

similar products located nearby on the shelf and into believing that they will pay the price

advertised.

        23.     In reality, however, after being enticed by the Shelf Pricing to purchase the

advertised items, Plaintiff and Class members are charged higher prices for Overcharged Goods

at checkout.

        24.     For example, on August 2, 2022, Plaintiff purchased Overcharged Goods at

Walmart’s store located at 5630 W. Touhy Avenue in Niles, Illinois. As shown below, Plaintiff

was charged higher prices for certain merchandise at checkout than what Walmart advertised on

its Shelf Pricing:

                a.     Strawberry Kit-Kats: Walmart’s Shelf Pricing advertised that the candy

cost $1.64. Plaintiff was charged and paid $1.88 at checkout (a 14% markup) (highlighting added

for easy reference):




                                                6
     Case: 23-1751           Document: 14SA12Filed: 07/17/2023              Pages: 110

      Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 7 of 28 PageID #:7




              b.     Reese Minis Dessert Topping: Walmart’s Shelf Pricing advertised that the

candy cost $2.00. Plaintiff was charged and paid $2.28 at checkout (a 14% markup) (highlighting

added for easy reference):




              c.       Hershey Strawberry Syrup: Walmart’s Shelf Pricing advertised that the

candy cost $2.48. Plaintiff was charged and paid $2.87 at checkout (a 15% markup) (highlighting

added for easy reference):

                                              7
     Case: 23-1751          Document: 14SA13Filed: 07/17/2023                Pages: 110

      Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 8 of 28 PageID #:8




                        :

               d.      Chi-Chi’s Mild Salsa: Walmart’s Shelf Pricing advertised that the salsa

cost $2.00. Plaintiff was charged and paid $2.28 at checkout (a 14% markup) (highlighting added

for easy reference):




               e.      Entenmann’s Lite Bite Banana Muffins: Walmart’s Shelf Pricing

advertised that the muffins cost $3.60. Plaintiff was charged and paid $3.94 at checkout (a 9.4%

markup) (highlighting added for easy reference):


                                               8
     Case: 23-1751         Document: 14SA14Filed: 07/17/2023                 Pages: 110

      Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 9 of 28 PageID #:9




               f.     Hostess Chocolate Cupcakes: Walmart’s Shelf Pricing advertised that

the muffins cost $3.12. Plaintiff was charged and paid $3.48 at checkout (a markup of over 11%)

(highlighting added for easy reference):




       25.     Plaintiff considers Shelf Pricing in making his shopping decisions; and the Shelf

Pricing in Walmart on August 2, 2022 materially drove his shopping decisions that day.




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     Case: 23-1751          Document: 14SA15Filed: 07/17/2023                    Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 10 of 28 PageID #:10




       26.     Prior to purchasing these Overcharged Goods, Plaintiff read and relied upon

Defendant’s false and misleading Shelf Pricing that was prepared and approved by Walmart. For

each purchase, he understood that he was paying the price reflected on the Shelf Pricing and such

pricing was being offered by Walmart.

       27.     Plaintiff purchased Overcharged Goods based on Walmart’s Shelf Pricing and

would not have purchased the Overcharged Goods but for the advertised Shelf Pricing.

       28.     Plaintiff suffered actual damages because he paid for more for the Overcharged

Goods than the value of the merchandise as reflected on the Shelf Pricing.

       C.      The Federal Trade Commission Forbids Walmart’s Unfair and Deceptive
               Pricing Practices

       29.     The Federal Trade Commission (the “FTC”) requires that any retailer who offers

price comparisons “should make certain that the bargain offer is genuine and truthful. Doing so

will serve their own interest as well as that of the general public.” 16 C.F.R. § 233.5.

       30.     When a retailer offers an item for sale, then, the offer must be entirely genuine

and truthful, and not contain any deceptive or unfair aspect.

       31.     Walmart, however, fails to comply with this FTC guideline. Instead, through its

unfair and deceptive pricing practices, Walmart deceives consumers into paying more for

Overcharged Goods than the value represented on Walmart’s Shelf Pricing.

       D.      Walmart Willfully Engages in Systemic and Pervasive Unfair and Deceptive
               Pricing Practices

       32.     Walmart knows that it overcharges consumers through its unfair and deceptive

pricing practices. Even though Walmart has been fined locally for these practices — essentially

a slap on the wrist for this $500-billion-dollar retailer — it has continued to allow its stores to

charge more for Overcharged Goods than what is advertised on the deceptive Shelf Pricing and



                                                 10
     Case: 23-1751          Document: 14SA16Filed: 07/17/2023                   Pages: 110

     Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 11 of 28 PageID #:11




elects not to implement institutional systemic controls to prevent such practices, willfully

continuing to mislead and overcharge consumers.

        33.     For example, at least two state agencies have taken action against Walmart for its

unfair and deceptive pricing practices and its overcharging of consumers, resulting in millions of

dollars in fines.

        34.     For example, in 2012, the state of California, led by then-Attorney General

Kamala Harris, assessed Walmart a $2 million fine for violating a 2008 ruling requiring it to

resolve pricing errors at checkout.9

        35.     Similarly, in November 2021, the North Carolina Department of Agriculture and

Consumer Services fined two Walmart stores in Wilmington, North Carolina after an

investigation found “repeated” and “excessive” price-scanner errors that resulted in customer

overcharges.10 Specifically, the investigation found overcharges on between 3% to 7% of

purchases each month. During an August 2021 inspection, 21 out of 300 items purchased, or 7%

of the purchases resulted in overcharges.

        36.     As recently as February 2022, five Walmart stores in North Carolina were

required to pay fines of more than $15,000 for price scanning errors resulting in overcharging

consumers.11



9
 Available at: https://www.sandiegouniontribune.com/sdut-walmart-fined-21-million-overcharging-
customers-2012mar21-htmlstory.html
10
  Available at: https://www.starnewsonline.com/story/news/2021/11/09/wilmington-nc-walmart-dollar-
general-fined-price-scanning-errors/6358289001/
11
  Available at: https://www.ncagr.gov/paffairs/release/2022/Twenty-
twostorespayfinesforpricescanningerrors.htm




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     Case: 23-1751          Document: 14SA17Filed: 07/17/2023                 Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 12 of 28 PageID #:12




         37.   Store-specific fines in the thousands of dollars, and even a statewide $2 million

fine — if and when Walmart is caught, and if and when state agencies elect to investigate — are

not an effective deterrent to this $500-billion corporation. Walmart continues its false,

misleading, unfair and deceptive pricing practices unabated.

         38.   Plaintiff’s counsel’s investigation identified numerous and frequent overcharges

at stores examined across many of the United of the States during the relevant period, including

Walmart stores located in Illinois.

         39.   For example, in June 2022, the Shelf Pricing at a Walmart located at 3626 Touhy

Avenue, Skokie, Illinois advertised that: (1) Sweet Ray’s BBQ Sauce cost $2.98, when the price

at checkout was $3.60; (2) Ragu Old World Style Traditional Sauce cost $1.78, when the price at

checkout was $1.96; and (3) S. Rosen Bread cost $3.38, when the price at checkout was $3.88.

         40.   Similarly, in August 2022, the Shelf Pricing at a Walmart located at 137 W. North

Avenue, Northlake, Illinois advertised that: (1) Scotch Gift Wrap cost $5.14, when the price at

checkout was $5.34; and (2) GV LED Light Bulbs cost $3.94, when the price at checkout was

$4.12.

         41.   Additionally, during the relevant period, Plaintiff’s counsel’s investigation

identified Walmart’s unfair and deceptive pricing practices throughout the United States,

including stores located in Florida, Indiana, Maryland, New Jersey, New York, and other states,

demonstrating that the unfair and deceptive practices are not limited to Illinois and extend from

coast-to-coast. Paragraphs 42 through 48 contain a non-exhaustive set of examples:

         42.   Florida: In February 2022, the Shelf Pricing at Walmart located at 301 S. State

Road 7, Hollywood, Florida advertised that: (1) StarKist Chunk Light Tuna cost $1.00, when the

price at checkout was $1.24; (2) Florida Natural Orange Juice cost $2.98, when the price at



                                               12
     Case: 23-1751        Document: 14SA18Filed: 07/17/2023                   Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 13 of 28 PageID #:13




checkout was $3.18; (3) Pitted Queen Olives cost $5.57, when the price at checkout was $5.94;

(4) Crisco Vegetable Oil cost $2.00, when the price at checkout was $2.34; and (5) McCormick

Black Pepper cost $3.18, when the price at checkout was $3.62.

       43.    Maryland: In April 2022, the Shelf Pricing at Walmart located at 1 Frankel Way

in Cockeysville, Maryland advertised that Idahoan Buttery Golden Selects Mashed Potatoes cost

$1.00, when the price at checkout was $1.12.

       44.    New Jersey: In January 2022, the Shelf Pricing at Walmart located at 326 Main

Street, Freehold, New Jersey advertised that: (1) Crisco Pure Canola Oil cost $3.12, when the

price at checkout was $3.64; and (2) Del Monte Fresh Cut Diced Potatoes cost $0.98, when the

price at checkout was $1.18; in January 2022, the Shelf Pricing at Walmart located at 4900 U.S.

Highway #9, Howell, New Jersey advertised that: (1) Great Value Chocolate Syrup cost $1.38,

when the price at checkout was $1.74; and (2) Hershey Chocolate Syrup cost $2.33, when the

price at checkout was $2.48; and in May 2022, the Shelf Pricing at Walmart located at 1872

Route 88, Brick, New Jersey advertised that: (1) Oreo Fireworks Chocolate Sandwich Cookies

cost $3.58, when the price at checkout was $4.28; and (2) Libby’s Whole Sweet Corn cost $0.82,

when the price at checkout was $0.98.

       45.    Pennsylvania: In January 2022, the Shelf Pricing at Walmart located at 100

Lunger Drive, Bloomsburg, Pennsylvania advertised that: (1) Hanover Garbanzo Beans Chick

Peas cost $0.92, when the price at checkout was $0.98; and (2) McCormick Black Pepper cost

$3.18, when the price at checkout was $3.62.

       46.    Further, Plaintiff’s investigation revealed that even in North Carolina – a state in

which Walmart has been fined for its unfair and deceptive pricing practices – Walmart continues




                                               13
     Case: 23-1751           Document: 14SA19Filed: 07/17/2023                     Pages: 110

     Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 14 of 28 PageID #:14




to use deceptive Shelf Pricing to overcharge consumers at checkout – even at the very same

stores that had been fined for overcharging consumers as recently as February 2022.

       47.     For example, in August 2022, the Shelf Pricing at Walmart located at 1205

Eastern Avenue, Nashville, North Carolina advertised that: (1) Celestial Seasonings, Country

Peach Passion Herbal Tea cost $2.72, when the price at checkout was $2.98; (2) Campbell’s

Condensed Tomato Soup cost $1.18, when the price at checkout was $1.26; and (3) Sunbeam

Queen Enriched White Bread Loaf cost $2.52, when the price at checkout was $2.84.

       48.     Similarly, in August 2022, the Shelf Pricing at Walmart located at 1049 Durham

Road, Roxboro, North Carolina advertised that: (1) Entenmann’s Little Bites Fudge Brownie

Mini Muffins cost $3.60, when the price at checkout was $3.94; (2) Popcorners Kettle Corn

Popped Corn Snacks cost $3.28, when the price at checkout was $3.68; (3) Snyder’s of Hanover

Nacho Cheese Twisted Pretzel Sticks cost $3.38, when the price at checkout was $3.68; and (4)

Wild Style Garlic Parmesan Sauce cost $2.62, when the price at checkout was $3.34.

                         CLASS DEFINITIONS AND ALLEGATIONS

       49.     Pursuant to Rule 23(b)(2), (b)(3), and (c)(4) of the Federal Rules of Civil

Procedure, Plaintiff brings this action on behalf of himself and the proposed Classes.12 Plaintiff

brings this action on behalf of himself and the proposed Nationwide Class:

       All persons who purchased merchandise from a Walmart store in the United
       States, within the applicable statute of limitations, until the date notice is
       disseminated, and paid higher prices for merchandise than the advertised shelf-
       prices (the “Nationwide Class”).

       50.     Pursuant to Federal Rules of Civil Procedure Rule 23(b)(2) and 23(b)(3), Plaintiff

brings this action on behalf of himself and the proposed Illinois Class:

12
   Unless otherwise specified, all references in this Complaint to “Classes” or the “Class” refer
collectively to the Nationwide Class, the Illinois Class, the Multi-State Consumer Protection Class, and
the Multi-State Uniform Deceptive Trade Practices Act (“UDTPA”) Class.


                                                  14
      Case: 23-1751            Document: 14SA20Filed: 07/17/2023                         Pages: 110

     Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 15 of 28 PageID #:15




        All persons who purchased merchandise from a Walmart store in the State of
        Illinois, within the applicable statute of limitations, and paid higher prices for
        merchandise than the advertised shelf-prices (the “Illinois Class”).

        51.      Pursuant to Federal Rules of Civil Procedure Rule 23(b)(2) and 23(b)(3), Plaintiff

brings this action on behalf of himself and the proposed Multi-State Consumer Protection Class:

        All persons who purchased merchandise from a Walmart store in the State of
        Illinois or any state with similar laws,13 within the applicable statute of
        limitations, until the date notice is disseminated, and paid higher prices for the
        merchandise than the advertised shelf-prices (the “Multi-State Class”).

        52.      Pursuant to Federal Rules of Civil Procedure Rule 23(b)(2) and 23(b)(3), Plaintiff

brings this action on behalf of himself and the proposed Multi-State Uniform Deceptive Trade

Practices Act (“UDTPA”) Class:

        All persons who purchased merchandise from a Walmart store in the State of
        Illinois or any state that has adopted similar UDTPA laws,14 within the applicable
13
   While discovery may alter the following, Plaintiff asserts that the other states with similar consumer
fraud laws under the fact of this case include but are not limited to: California (Cal. Civ. Code §
1770(a)(9)); Colorado (Colo. Rev. Stat. § 6-1-101, et seq.); Connecticut (Conn. Gen. Stat. § 42-110, et
seq.); Delaware (Del. Code tit. 6, §§ 2511, et seq.); District of Columbia (D.C. Code § 28-3901, et seq.);
Florida (Fla. Stat. § 501.201, et seq.); Hawaii (Haw. Rev. Stat. § 480-1, et seq.); Idaho (Idaho Code § 48-
601, et seq.); Illinois (815 ICLS § 505/1, et seq.); Maryland (Md. Comm. Law Code Ann. § 13-1301, et
seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws § 445.311, et
seq.) (the notice requirement set forth in § 445.311, et seq. does not apply where, as here, the seller
intentionally charges more for a consumer item than the price displayed for the item in pursuant to Mich.
Comp. Laws § 445.319(4)); Minnesota (Minn. Stat. § 325F.67, et seq.); Minnesota (Minn. Stat. §
325F.67, et seq.); Missouri (Mo. Rev. Stat. § 407.010, et seq.); Nebraska (Neb. Rev. Stat. § 59 1601, et
seq.); Nevada (Nev. Rev. Stat. § 598.0915, et seq.); New Hampshire (N.H. Rev. Stat. § 358A:1, et seq.);
New Jersey (N.J. Stat. Ann. § 56:8-1, et seq.); New Mexico (N.M. Stat. § 57-12-1, et seq.); New York
(N.Y. Gen. Bus. Law § 349, et seq.); North Dakota (N.D. Cent. Code § 51-15-01, et seq.); Oklahoma
(Okla. Stat. tit. 15, § 751, et seq.); Oregon (Or. Rev. Stat. § 646.605, et seq.); Pennsylvania (73 Pa. Stat. §
201-1 et seq.); Rhode Island (R.I. Gen. Laws § 6-13.1-1, et seq.); South Dakota (S.D. Code Law § 37-24-
1, et seq.); Utah (Utah Code § 13-11-1, et seq.); Virginia (VA Code § 59.1-196, et seq.); Vermont (Vt.
Stat. tit. 9, § 2451, et seq.); Washington (Wash. Rev. Code § 19.86.010, et seq.); West Virginia (W. Va.
Code § 46A-6-101, et seq.).

14
   While discovery may alter the following, Plaintiff asserts that the other states with similar UDTPA
statutes under the facts of this case include but are not limited to: Colorado (Colo. Rev. Stat. § 6-1-105, et
seq.); Delaware (Del. Code tit. 6, § 2531, et seq.); District of Columbia (D.C. Code § 28-3901, et seq.);
Georgia (Ga. Code § 10-1- 372, et seq.); Hawaii (Haw. Rev. Stat. § 481A, et seq.); Idaho (Idaho Code §
48-601, et seq.); Illinois (815 ICLS § 510/1, et seq.); Maine (10 M.R.S.A. § 1210, et seq.); Minnesota
(Minn. Stat. § 325D.43, et seq.); Mississippi (MS Code § 75-24-1, et seq.); Nebraska (Neb. Rev. Stat. §
87-301, et seq.); New Hampshire (Nev. Rev. Stat. § 598.0901, et seq.); New Mexico (N.M. Stat. § 57-12-

                                                      15
     Case: 23-1751           Document: 14SA21Filed: 07/17/2023                     Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 16 of 28 PageID #:16




       statute of limitations, until the date notice is disseminated, and paid higher prices
       for merchandise than the advertised shelf-prices (the “Multi-State UDTPA
       Class”).

       53.     Excluded from the Classes are: (i) the Defendant, and any entity in which any

Defendant or its subsidiaries of affiliates have a controlling interest, and Defendant’s legal

representatives, predecessors, successors and assigns; (ii) governmental entities; (iii) Defendant’s

employees, officers, directors, agents, and representatives and their family members; (iv) all

persons who make a timely election to be excluded from the Classes; and (v) the Judge and staff

to whom this case is assigned, and any member of the Judge’s immediate family.

       54.     Numerosity – Federal Rule of Civil Procedure 23(a)(1): The members of the

proposed Classes are so numerous that the individual joinder of all absent Class members is

impracticable. While the exact number of Class members is unknown to Plaintiff at this time and

is in the exclusive control of Defendant, it is ascertainable by appropriate discovery. Plaintiff is

informed and reasonably believes that Class members include hundreds of thousands of people

or more, who are geographically diverse so that joinder of all Class members is impracticable.

       55.     Commonality and Predominance – Federal Rule of Civil Procedure 23(a)(2)

and 23(b)(3): This action involves common questions of law or fact, which predominate over

any questions affecting individual Class members, including: (i) whether Walmart’s pricing

practices are false, deceptive, misleading, unfair and/or unlawful; (ii) whether Walmart’s pricing

practices with respect to Shelf Pricing and Overcharge Goods are false, deceptive, misleading,

unfair and/or unlawful; (iii) whether Walmart’s conduct violates the Illinois Consumer Fraud Act

and Deceptive Business Practices Act; (iv) whether Walmart’s violation is willful or grossly

negligent; (v) whether Walmart should be enjoined from continuing to charge consumers higher


1, et seq.); Oklahoma (Okla. Stat. Ann. tit. 15 § 751, et seq); and Wyoming (Wyo. Stat. Ann. §40-12-101,
et seq.).

                                                  16
     Case: 23-1751          Document: 14SA22Filed: 07/17/2023                    Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 17 of 28 PageID #:17




prices for merchandise than is advertised on its Shelf Pricing, or required to implement systemic

controls to ensure the same; (vi) whether Plaintiff and the Class members sustained actual

damages; and (vii) whether Walmart has unjustly enriched itself by deceptively overcharging

customers for Overcharged Goods.

       56.     Typicality – Federal Rule of Civil Procedure 23(a)(3): Plaintiff’s claims are

typical of the other Class members’ claims because, among other things, all Class members were

injured through the substantially uniform misconduct of Defendant. Plaintiff is advancing the

same claims and legal theories on behalf of himself and all other Class members, and there are

no defenses that are unique to Plaintiff. The claims of Plaintiff and those of the other Class

members arise from the same operative facts and are based on the same legal theories.

       57.     Adequacy of Representation – Federal Rule of Civil Procedure 23(a)(4):

Plaintiff is an adequate representative of the Classes because his interests do not conflict with the

interests of the other Class members he seeks to represent; he has retained counsel competent

and experienced in complex class action litigation and Plaintiff will prosecute this action

vigorously. The Class members’ interests will be fairly and adequately protected by Plaintiff and

his counsel.

       58.     Superiority – Federal Rule of Civil Procedure 23(b)(3): A class action is

superior to any other available means for the fair and efficient adjudication of this controversy,

and no unusual difficulties are likely to be encountered in the management of this matter as a

class action. The damages, harm, or other financial detriment suffered individually by Plaintiff

and Class members are relatively small compared to the burden and expense that would be

required to litigate their claims on an individual basis against Defendant, making it impracticable

for Class members to individually seek redress for Defendant’s wrongful conduct. Even if Class



                                                 17
     Case: 23-1751          Document: 14SA23Filed: 07/17/2023                     Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 18 of 28 PageID #:18




members could afford individual litigation, the court system could not. Individualized litigation

would create a potential for inconsistent or contradictory judgments and increase the delay and

expense to all parties and the court system. By contrast, the class action device presents far fewer

management difficulties and provides the benefits of single adjudication, economies of scale, and

comprehensive supervision by a single court.

       59.     Further, Defendant has acted or refused to act on grounds generally applicable to

each of the Classes and, accordingly, final injunctive or corresponding declaratory relief with

regard to members of the Classes as a whole is appropriate under Rule 23(b)(2) of the Federal

Rules of Civil Procedure.

       60.     Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein.

                                      CAUSES OF ACTION

                                   COUNT I
                      VIOLATION OF THE ILLINOIS
         CONSUMER FRAUD AND DECEPTIVE BUSINESS PRACTICES ACT
                  (On Behalf of Plaintiff and the Illinois Class)

       61.     Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1-60 as if fully set forth herein.

       62.     Plaintiff brings this action individually and on behalf of the Illinois Class.

       63.     In Illinois, the Consumer Fraud and Deceptive Business Practices Act, 815 Ill.

Comp. Stat. 505/1, et seq. (the “ICFA”) prohibits “unfair methods of competition and unfair or

deceptive acts or practices, including but not limited to the use or employment of any deception,

fraud, false pretense, false promise, misrepresentation or the concealment, suppression or

omission of any material fact, with intent that others rely upon the concealment, suppression or

                                                 18
     Case: 23-1751          Document: 14SA24Filed: 07/17/2023                  Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 19 of 28 PageID #:19




omission of such material fact, or the use or employment of any practice described in Section 2

of the ‘Uniform Deceptive Trade Practices Act’ . . . .” In turn, the Uniform Deceptive Trade

Practices Act, 815 Ill. Comp. Stat. 510/2(a)(11), states that making “false or misleading

statements of fact concerning the reasons for, existence of, or amounts of price reductions”

constitutes a deceptive practice.

       64.     The ICFA was enacted to protect the consuming public and legitimate business

enterprises from those who engage in unfair or deceptive acts or practices in the conduct of any

trade or commerce.

       65.     Plaintiff is a “consumer” as defined by 815 Ill. Comp. Stat. 505/1(e).

       66.     The subject transaction for Overcharged Goods is “trade” or “commerce” as

defined by 815 Ill. Comp. Stat. 505/1(f).

       67.     Defendant violated the ICFA by, within its Illinois stores, engaging in the unfair

and deceptive pricing practices described herein and proscribed by ICFA, 815 Ill. Comp. Stat.

505/2 and, by incorporation therein, 815 Ill. Comp. Stat. 510/2.

       68.     Defendant’s actions constitute unfair and deceptive acts or practices within the

meaning of the ICFA because, as alleged herein, Defendant advertised and marketed the

Overcharged Goods at Shelf Prices that were lower than the prices Defendant charged consumers

(like Plaintiff and Class members) at checkout.

       69.     Further, Defendant’s actions offend an established public policy, and are immoral,

unethical, oppressive, and unscrupulous, and are and were substantially injurious to consumers.

       70.     By misleading Plaintiff and Class members into believing that they were

purchasing merchandise for the prices represented on the Shelf Pricing, Defendant induced them




                                                  19
     Case: 23-1751          Document: 14SA25Filed: 07/17/2023                   Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 20 of 28 PageID #:20




to select such goods based on their Shelf Pricing and then to purchase these Overcharged Goods

at higher prices for the benefit of Defendant.

       71.     Plaintiff and Class members relied on and were misled by Defendant’s unfair and

deceptive pricing practices to their detriment by purchasing the Overcharged Goods at prices

higher than were advertised through the Shelf Pricing.

       72.     As a direct and proximate result of Defendant’s conduct, Plaintiff and Class

members suffered actual damages in that they paid Defendant more for Overcharged Goods than

the value represented in Defendant’s Shelf Pricing.

       73.     Plaintiff and Class members have been and will continue to be deceived or misled

by Defendant’s false, misleading, unfair and deceptive pricing practices.

       74.     Defendant knew and calculated that its practices would mislead consumers,

continuing such practices despite knowledge of the deception and the harm it caused and causes.

Such conduct thus is willful and in wanton disregard of Plaintiff’s and Class members’ rights.

       75.     As a result of the Defendant’s violations of the ICFA, Plaintiff and Class

members are entitled to recover compensatory damages, restitution, punitive and special

damages including but not limited to treble damages, reasonable attorneys’ fees and costs,

injunctive relief, and other relief as deemed appropriate or permitted pursuant to the relevant law.

       76.     Plaintiff reserves the right to allege other violations of ICFA as discovery unfolds,

as Defendant’s conduct is ongoing.

                                          COUNT II
                             VIOLATION OF THE ILLINOIS
                      UNIFORM DECEPTIVE TRADE PRACTICES ACT
                         (On Behalf of Plaintiff and the Illinois Class)

       77.     Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1-76 as if fully set forth herein.

                                                 20
     Case: 23-1751          Document: 14SA26Filed: 07/17/2023                     Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 21 of 28 PageID #:21




       78.     Plaintiff brings this action individually and on behalf of the Illinois Class.

       79.     The Illinois Uniform Deceptive Trade Practices Act (“Ill. UDTPA”), 815 Ill.

Comp. Stat. 510/2, et seq., prohibits “[u]nfair methods of competition and unfair or deceptive

acts or practices, including but not limited to the use or employment of any deception, fraud,

false pretense, false promise, misrepresentation or the concealment, suppression or omission of

any material fact, with intent that others rely upon the concealment, suppression or omission of

such material fact.”

       80.      815 ILCS 510/2 provides in pertinent part that a “person engages in a deceptive

trade practice when, in the course of his or her business, vocation, or occupation,” the person

does any of the following: “(9) advertises goods or services with intent not to sell them as

advertised; . . . (11) makes false or misleading statements of fact concerning the reasons for,

existence of, or amounts of price reductions; [or] (12) engages in any other conduct which

similarly creates a likelihood of confusion or misunderstanding.”

       81.     Defendant engaged in unfair and deceptive acts in violation of 815 Ill. Comp.

Stat. 510/2 when, as set forth above, it advertised Shelf Pricing with the intent not to sell such

goods at the prices advertised; advertised Shelf Pricing with false or misleading purported price

reductions; and continued these practices despite knowledge that they create a likelihood of

confusion or misunderstanding.

       82.     Defendant’s deceptive acts occurred in a course of conduct involving trade and

commerce in Illinois and throughout the United States.

       83.     Defendant’s deceptive acts proximately caused actual injury Plaintiff and the

Class members at the point of purchase.




                                                 21
     Case: 23-1751          Document: 14SA27Filed: 07/17/2023                 Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 22 of 28 PageID #:22




       84.     Plaintiff and Class members would not have purchased the Overcharged Goods

but for Defendant’s false and misleading pricing practices and Shelf Pricing. Defendant intended

Plaintiff and all Class members to rely on the false and misleading Shelf Pricing when

purchasing the Overcharged Goods.

       85.     Defendant knew that its unfair and deceptive pricing practices were causing

Plaintiff and Class members to pay more for Overcharged Goods than the value represented in

the Shelf Pricing, and its behavior thus was willful.

       86.     Defendant’s unfair and deceptive pricing practices are company-wide, pervasive,

and continuous. Because Defendant continues to allow its stores across the United States to

charge more for Overcharged Goods than what is advertised on the deceptive Shelf Pricing, and

elects not to implement institutional systemic controls to prevent such practices even after being

fined for such practices by local agencies, Plaintiff and Class members are likely to be misled

and overcharged in the future.

       87.     As a result of the Defendant’s violations of the Ill. UDTPA, Plaintiff and Class

members are entitled to injunctive relief, attorneys’ fees and costs, and other relief as deemed

appropriate or permitted pursuant to the relevant law.

                                         COUNT III
             VIOLATIONS OF STATE CONSUMER PROTECTION STATUTES
                (On Behalf of Plaintiff and the Multi-State Consumer Class)

       88.     Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1-87 as if fully set forth herein.

       89.     Plaintiff and Class members have been injured as a result of Defendant’s

violations of the state consumer protection statutes listed above in paragraph 51 and footnote 13,




                                                 22
     Case: 23-1751          Document: 14SA28Filed: 07/17/2023                   Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 23 of 28 PageID #:23




which also provide a basis for redress to Plaintiff and Class members based on Defendant’s

fraudulent, deceptive, unfair and unconscionable acts, practices and conduct.

       90.     Defendant’s conduct as alleged herein violates the consumer protection, unfair

trade practices and deceptive acts laws of each of the jurisdictions encompassing the Multi-State

Consumer Class.

       91.     Defendant violated the Multi-State Consumer Class’s states’ unfair and deceptive

acts and practices laws by advertising sales prices for Overcharged Goods but charging Class

members higher prices at checkout.

       92.     Defendant’s misrepresentations were material to Plaintiff’s and Class members’

decision to purchase the Overcharged Goods.

       93.     Defendant made its untrue and/or misleading statements and representations

willfully, wantonly, and /or with reckless disregard for the truth and for the rights of consumers.

       94.     As a result of Defendant’s violations of the aforementioned states’ unfair and

deceptive practices laws, Plaintiff and Class members paid higher prices for Overcharged Goods.

       95.     As a result of Defendant’s violations, Defendant has been unjustly enriched.

       96.     Pursuant to the aforementioned states’ unfair and deceptive practices laws,

Plaintiff and Class members are entitled to recover compensatory damages, restitution, punitive

and special damages including but not limited to treble damages, reasonable attorneys’ fees and

costs and other injunctive or declaratory relief as deemed appropriate or permitted pursuant to

the relevant law.




                                                23
     Case: 23-1751          Document: 14SA29Filed: 07/17/2023                   Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 24 of 28 PageID #:24




                                         COUNT IV
          VIOLATION OF THE UNIFORM DECEPTIVE TRADE PRACTICES ACT
                (On Behalf of Plaintiff and the Multi-State Consumer Class)

         97.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1-96 as if fully set forth herein.

         98.    Plaintiff brings this action individually and on behalf of the Multi-State UDTPA

Class.

         99.    Plaintiff and Class members have been injured as a result of Defendant’s

violations of the UDTPA adopted by the states listed above in paragraph 52 and footnote 14.

         100.   The UDTPA provides in pertinent part that a “person engages in a deceptive trade

practice when, in the course of his or her business, vocation, or occupation,” the person does any

of the following: “advertises goods or services with intent not to sell them as advertised; “makes

false or misleading statements of fact concerning the reasons for, existence of, or amounts of

price reductions;” [or] “engages in any other conduct which similarly creates a likelihood of

confusion or misunderstanding.”

         101.   Defendant engaged in unfair and deceptive acts in violation of the UDTPA when,

as set forth above, it advertised Shelf Pricing with the intent not to sell such goods at the prices

advertised; advertised Shelf Pricing with false or misleading purported price reductions; and

continued these practices despite knowledge that they create a likelihood of confusion or

misunderstanding.

         102.   Defendant’s deceptive acts occurred in a course of conduct involving trade and

commerce in Illinois and throughout the United States.

         103.   Defendant’s deceptive acts proximately caused actual injury Plaintiff and the

Class members at the point of purchase.



                                                 24
     Case: 23-1751           Document: 14SA30Filed: 07/17/2023                 Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 25 of 28 PageID #:25




       104.    Plaintiff and Class members would not have purchased the Overcharged Goods

but for Defendant’s false and misleading pricing practices and Shelf Pricing. Defendant intended

Plaintiff and all Class members to rely on the false and misleading Shelf Pricing when

purchasing the Overcharged Goods.

       105.    Defendant knew that its unfair and deceptive pricing practices were causing

Plaintiff and Class members to pay more for Overcharged Goods than the value represented in

the Shelf Pricing, and its behavior thus was willful.

       106.    Defendant’s unfair and deceptive pricing practices are company-wide, pervasive,

and continuous. Because Defendant continues to allow its stores across the United States to

charge more for Overcharged Goods than what is advertised on the deceptive Shelf Pricing, and

elects not to implement institutional systemic controls to prevent such practices even after being

fined for such practices by local agencies, Plaintiff and Class members are likely to be misled

and overcharged in the future.

       107.    As a result of the Defendant’s violations of the UDTPA, Plaintiff and Class

members are entitled to injunctive relief, attorneys’ fees and costs, and other relief as deemed

appropriate or permitted pursuant to the relevant law.

                                          COUNT V
                                  UNJUST ENRICHMENT
                       (On Behalf of Plaintiff and the Nationwide Class)

       108.    Plaintiff re-alleges and incorporates by reference herein all of the allegations

contained in paragraphs 1-107 as if fully set forth herein.

       109.    To the extent of any overlap of claims, Plaintiff’s Unjust Enrichment cause of

action herein is pled in the alternative to Counts I, II, III and IV above.

       110.    Plaintiff brings this action individually and on behalf of the Nationwide Class.



                                                  25
     Case: 23-1751         Document: 14SA31Filed: 07/17/2023                  Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 26 of 28 PageID #:26




       111.    Plaintiff and Class members conferred a monetary benefit on Defendant by

paying higher prices for Overcharged Goods than Defendant’s advertised Shelf Pricing.

       112.    Defendant knew that Plaintiff and Class Members conferred a benefit on

Defendant and accepted or retained that benefit. Through its false, misleading, unfair and

deceptive pricing practices, Defendant unjustly received and retained benefits at the expense of

Plaintiff and Class members, specifically the difference in price between what was charged and

what should have been charged, and the failure to provide the Overcharged Goods based on its

representations.

       113.    By and through Defendant’s false, misleading, unfair and deceptive pricing

practices, Defendant has received, had use of, and accrued interest on these funds wrongfully

obtained from Plaintiff and Class members.

       114.    Defendant should not be permitted to retain the money belonging to Plaintiff and

Class members, because Defendant failed to provide the Overcharged Goods at the advertised

price, and Defendant has not provided compensation to Plaintiff and Class members.

       115.    Plaintiff and Class members have suffered pecuniary harm as a direct and

proximate result of Defendant’s conduct.

       116.    If Plaintiff and Class members knew that Defendant was going to charge higher

prices for Overcharged Goods, they would not have purchased Overcharged Goods from

Defendant.

       117.    Plaintiff and Class members have no adequate remedy at law.

       118.    Plaintiff and Class members are entitled to restitution of, disgorgement of, and/or

the imposition of a construct trust upon all profits, benefits, and other compensation obtained by




                                               26
     Case: 23-1751          Document: 14SA32Filed: 07/17/2023                 Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 27 of 28 PageID #:27




Defendant, and for such other relief that this Court deems proper, as a result of their unfair,

misleading, and inequitable conduct.

                                    REQUEST FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of other members of the proposed

Classes, respectfully requests that the Court enter judgment in Plaintiff’s favor and against

Defendant as follows:

         A.    Declaring that this action is a proper class action, certifying the Classes as

requested herein, designating Plaintiff as Class Representative and appointing the undersigned

counsel as Class Counsel.

         B.    Ordering injunctive relief as permitted by law or equity, including enjoining

Defendant from continuing the unlawful, unfair and deceptive business practices as set forth

herein, and requiring it to implement systemic controls to prevent the same from continuing to

occur;

         C.    Ordering restitution and disgorgement of all profits and unjust enrichment that

Defendant obtained from Plaintiff and the Class members as a result of Defendant’s unlawful,

unfair and deceptive business practices;

         D.    Awarding actual damages, compensatory damages, and punitive damages in an

amount to be determined at trial;

         E.    Ordering Defendant to pay attorneys’ fees and litigation costs to Plaintiff and the

other members of the Classes;

         F.    Ordering Defendant to pay both pre- and post-judgment interest on any amounts

awarded; and

         G.    Ordering such other relief as may be just and proper.



                                               27
     Case: 23-1751        Document: 14SA33Filed: 07/17/2023                    Pages: 110

    Case: 1:22-cv-04177 Document #: 1 Filed: 08/09/22 Page 28 of 28 PageID #:28




                                      JURY DEMAND

   119.      Plaintiff demands a trial by jury of all claims in this Complaint so triable.

Dated: August 9, 2022

                                                    Respectfully submitted,

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                                                    *Application for Pro Hac Vice Forthcoming




                                               28
     Case: 23-1751          Document: 14SA34Filed: 07/17/2023                    Pages: 110

    Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 1 of 10 PageID #:236




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

YORAM KAHN, individually and on behalf            )
of all others similarly situated,                 )
                                                  )
               Plaintiff,                         )
                                                  )           No. 22 C 4177
       v.                                         )
                                                  )           Judge Sara L. Ellis
WALMART, INC.,                                    )
                                                  )
               Defendant.                         )

                                    OPINION AND ORDER

       After Defendant Walmart, Inc. charged Plaintiff Yoram Kahn more than the prices

reflected on the store shelf for certain items that he purchased, Kahn filed this putative class

action against Walmart. Kahn brings claims for violation of the Illinois Consumer Fraud and

Deceptive Business Practices Act (“ICFA”), 815 Ill. Comp. Stat. 505/1 et seq., the Illinois

Uniform Deceptive Trade Practices Act (“UDTPA”), 815 Ill. Comp. Stat. 510/1 et seq., and other

similar state consumer protection statutes. Kahn also brings a claim for unjust enrichment.

Walmart filed a motion to dismiss the complaint pursuant to Federal Rule of Civil Procedure

12(b)(6). Because Kahn has not sufficiently alleged the required elements of his claims and any

attempt to amend to do so would be futile, the Court grants Walmart’s motion and dismisses this

case with prejudice.
     Case: 23-1751           Document: 14SA35Filed: 07/17/2023                       Pages: 110

    Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 2 of 10 PageID #:237




                                          BACKGROUND 1

        Walmart uses shelf pricing to advertise merchandise prices and enable consumers to

calculate pricing differences between brands and identify bargains, as well as to induce

consumers to purchase the advertised merchandise. But Walmart’s shelf pricing does not always

reflect the price it charges consumers at the point of sale, causing consumers to pay higher prices

at checkout. Various agencies have imposed fines on Walmart for this practice. In 2012, the

State of California assessed a $2 million fine against Walmart for violating a 2008 ruling

requiring it to resolve pricing errors at checkout. In November 2021, the North Carolina

Department of Agriculture and Consumer Services fined two Walmart stores in Wilmington,

North Carolina after an investigation found repeated and excessive scanning errors that caused

customer overcharges on between three and seven percent of purchases each month. An

additional five Walmart stores, including one of the previously fined stores, had to pay over

$15,000 in fines for overcharging consumers due to price scanning errors in February 2022.

        Kahn, an Ohio resident, visited a Walmart store at 5630 W. Touhy Avenue, Niles,

Illinois, on August 2, 2022. Kahn read and relied on the shelf pricing in deciding what to

purchase. Ultimately, Kahn purchased fifteen items, with a pretax total of $27.69. Reviewing

his receipt, Kahn determined that Walmart charged him more than the listed shelf price on six of

the items he purchased: (1) strawberry Kit-Kats, which shelf pricing advertised as costing $1.64

but which rang up at checkout at $1.88 (a 14% markup); (2) Reese’s Minis dessert topping,


1
  The Court takes the facts in the background section from Kahn’s complaint and presumes them to be
true for the purpose of resolving Walmart’s motion to dismiss. See Phillips v. Prudential Ins. Co. of Am.,
714 F.3d 1017, 1019–20 (7th Cir. 2013). Although the Court normally cannot consider extrinsic evidence
without converting a motion to dismiss into one for summary judgment, Jackson v. Curry, 888 F.3d 259,
263 (7th Cir. 2018), the Court may consider “documents that are central to the complaint and are referred
to in it” in ruling on a motion to dismiss, Williamson v. Curran, 714 F.3d 432, 436 (7th Cir. 2013). The
Court “may also take judicial notice of matters of public record.” Orgone Cap. III, LLC v. Daubenspeck,
912 F.3d 1039, 1043–44 (7th Cir. 2019).
                                                    2
     Case: 23-1751          Document: 14SA36Filed: 07/17/2023                    Pages: 110

    Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 3 of 10 PageID #:238




which shelf pricing advertised as costing $2.00 but which rang up at checkout as $2.28 (a 14%

markup); (3) Hershey strawberry syrup, which shelf pricing advertised as costing $2.48 but

which rang up at checkout as $2.87 (a 15% markup); (4) Chi-Chi’s mild salsa, which shelf

pricing advertised as costing $2.00 but which rang up at checkout as $2.28 (a 14% markup);

(5) Entenmann’s Lite Bite banana muffins, which shelf pricing advertised as costing $3.60 but

which rang up at checkout as $3.94 (a 9.4% markup); and (6) Hostess chocolate cupcakes, which

shelf pricing advertised as costing $3.12 but which rang up at checkout as $3.48 (an over 11%

markup).

        Kahn’s counsel performed additional investigation of shelf pricing across the country,

including in Florida, Indiana, Maryland, New Jersey, and New York, finding examples of

overcharges at various stores. Counsel also found that, despite being fined in February 2022 for

overcharges, two Walmart stores in North Carolina continued to have overcharges in August

2022.

                                      LEGAL STANDARD

        A motion to dismiss under Rule 12(b)(6) challenges the sufficiency of the complaint, not

its merits. Fed. R. Civ. P. 12(b)(6); Gibson v. City of Chicago, 910 F.2d 1510, 1520 (7th Cir.

1990). In considering a Rule 12(b)(6) motion, the Court accepts as true all well-pleaded facts in

the plaintiff’s complaint and draws all reasonable inferences from those facts in the plaintiff’s

favor. Kubiak v. City of Chicago, 810 F.3d 476, 480–81 (7th Cir. 2016). To survive a Rule

12(b)(6) motion, the complaint must assert a facially plausible claim and provide fair notice to

the defendant of the claim’s basis. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007); Adams v. City of Indianapolis, 742 F.3d 720, 728–29 (7th

Cir. 2014). A claim is facially plausible “when the plaintiff pleads factual content that allows the



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      Case: 23-1751         Document: 14SA37Filed: 07/17/2023                   Pages: 110

     Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 4 of 10 PageID #:239




court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678.

       Rule 9(b) requires a party alleging fraud to “state with particularity the circumstances

constituting fraud.” Fed. R. Civ. P. 9(b). “This ordinarily requires describing the ‘who, what,

when, where, and how’ of the fraud, although the exact level of particularity that is required will

necessarily differ based on the facts of the case.” AnchorBank, FSB v. Hofer, 649 F.3d 610, 615

(7th Cir. 2011) (citation omitted). Rule 9(b) does not govern only claims of fraud; it applies to

all allegations and averments of fraud. Pirelli Armstrong Tire Corp. Retiree Med. Benefits Tr. v.

Walgreen Co., 631 F.3d 436, 446–47 (7th Cir. 2011); Borsellino v. Goldman Sachs Grp., Inc.,

477 F.3d 502, 507 (7th Cir. 2007). “A claim that ‘sounds in fraud’—in other words, one that is

premised upon a course of fraudulent conduct—can implicate Rule 9(b)’s heightened pleading

requirements.” Borsellino, 477 F.3d at 507.

                                           ANALYSIS

I.     ICFA Claim

       Kahn brings claims of deception and unfair conduct under ICFA, “a regulatory and

remedial statute intended to protect consumers . . . against fraud, unfair methods of competition,

and other unfair and deceptive business practices.” Benson v. Fannie May Confections Brands,

Inc., 944 F.3d 639, 645 (7th Cir. 2019) (quoting Robinson v. Toyota Motor Credit Corp., 201 Ill.

2d 403, 416–17 (2002)). To state an ICFA claim, Kahn must allege (1) a deceptive or unfair act

or practice by Walmart, (2) Walmart’s intent that Kahn rely on the deceptive or unfair practice,

(3) the deceptive or unfair practice occurred during a course of conduct involving trade or

commerce, and (4) Walmart’s deceptive or unfair practice proximately caused Kahn actual




                                                 4
     Case: 23-1751           Document: 14SA38Filed: 07/17/2023                     Pages: 110

    Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 5 of 10 PageID #:240




damage. 2 Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547, 574 (7th Cir. 2012); Kim v. Carter’s

Inc., 598 F.3d 362, 365 (7th Cir. 2010). A deceptive practices claim must meet Rule 9(b)’s

heightened pleading standard, while an unfair practices claim need not because it is not based on

fraud. Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 737 (7th Cir. 2014). Kahn may

recover for either deceptive or unfair conduct. See Robinson, 201 Ill. 2d at 960. Although Kahn

uses language of unfairness in his complaint, he premises his ICFA claim on Walmart’s alleged

concealment of the actual prices of its items, and so the Court interprets it solely as a deceptive

practices claim that must meet Rule 9(b)’s heightened pleading standard. See Haywood v.

Massage Envy Franchising, LLC, 887 F.3d 329, 333 (7th Cir. 2018) (“Although Haywood brings

one ICFA claim alleging unfair practices, that claim still sounds in fraud because it relies upon

the same baseline allegation that Massage Envy intentionally misled consumers by hiding

information on the length of massage time.”); Jos. A. Bank, 761 F.3d at 737 (addition of

“unfairness” language did not change ICFA claim “entirely grounded in fraud” to an unfairness

claim); Pirelli, 631 F.3d at 446–47 (pleading premised on intentional concealment appropriately

interpreted as deceptive practices claim subject to Rule 9(b), not unfair practices claim subject to

Rule 8).

        Walmart argues that Kahn has not sufficiently alleged a deceptive act or that Walmart

intended that he rely on any alleged deception. Walmart essentially argues that the price

discrepancy between the shelf price and the scanner price amounted to a mere error and that the

issuance of a receipt allowed Kahn to check the charges, dispelling any deception and

establishing that Walmart had no intent to deceive. An act “is deceptive if it creates a likelihood

2
  Unlike for common law fraud, reliance is not an element of an ICFA claim. See, e.g., Cozzi Iron &
Metal, Inc. v. U.S. Office Equip., Inc., 250 F.3d 570, 576–77 (7th Cir. 2001) (affirming dismissal of
common law fraud claim because the plaintiff could not show it relied on oral representations different
from contract terms, while allowing the ICFA claim to proceed past motion to dismiss based on the same
facts because reliance is not a required element of an ICFA claim).
                                                   5
       Case: 23-1751        Document: 14SA39Filed: 07/17/2023                    Pages: 110

      Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 6 of 10 PageID #:241




of deception or has the capacity to deceive.” Bober v. Glaxo Wellcome PLC, 246 F.3d 934, 938

(7th Cir. 2001). In making this determination, the Court considers the allegedly deceptive act “in

light of the totality of the information made available to the plaintiff.” Davis v. G.N. Mortg.

Corp., 396 F.3d 869, 884 (7th Cir. 2005).

        Walmart relies heavily on Tudor v. Jewel Food Stores, Inc., 288 Ill. App. 3d 207 (1997),

to argue that Kahn has not sufficiently alleged that Walmart engaged in a deceptive act. As here,

in Tudor, the plaintiff alleged that the defendant charged her a price higher than that advertised

on the shelf. Id. at 210. She also alleged, however, that the defendant’s internal audits indicated

its scanners were accurate 96% of the time from 1991 through 1993, the defendant provided her

with a receipt to allow her to compare the scanned prices with the advertised prices, and the

defendant had a money-back guarantee if the scanned price differed from the shelf price. Id.

The Tudor court concluded that “[t]he combination of the high accuracy rate of the scanners,

along with the issuance of a receipt and defendant’s policy of providing a money-back guarantee

if the scanned price differs from the shelf price, indicates there was no deception by defendant.”

Id.

        Although Kahn contends that Walmart’s accuracy rate is much lower than that in Tudor

and he has not alleged that Walmart has a similar money-back guarantee, the Court finds the

reasoning in Tudor applies equally to this case, where Walmart provides its customers with a

receipt to compare the scanned price with the shelf price. “Illinois law is clear that where other

information is available to dispel [a tendency to mislead], there is no possibility for deception.”

Killeen v. McDonald’s Corp., 317 F. Supp. 3d 1012, 1013 (N.D. Ill. 2018). Here, Walmart

provided Kahn with a receipt, reflecting the incorrectly scanned prices. Kahn could, and indeed

did, use this receipt to compare the prices Walmart charged him with the advertised shelf pricing.



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      Case: 23-1751            Document: 14SA40Filed: 07/17/2023                        Pages: 110

    Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 7 of 10 PageID #:242




This comparison revealed the discrepancy and dispelled any potential deception. 3 See id. at

1013–14 (no deception where store displayed prices near registers and a comparison between the

prices for individual items as opposed to a bundled meal “would have dispelled the deception”

that “could be drawn from the name ‘Extra Value Meal’”); Fuchs v. Menard, Inc., No. 17-cv-

01752, 2017 WL 4339821, at *5 (N.D. Ill. Sept. 29, 2017) (consumers’ “direct and complete

access to the information needed” to determine the accuracy of the defendant’s statements

defeated a claim of deception); Saunders v. Mich. Ave. Nat’l Bank, 278 Ill. App. 3d 307, 313

(1996) (no deception existed for allegedly hidden overdraft fee where the defendant disclosed the

fee in a pamphlet that the plaintiff received).

        Additionally, the Court finds that Kahn cannot adequately allege ICFA’s intent element.

“To satisfy the intent requirement, plaintiff need not show that defendant intended to deceive the

plaintiff, but only that the defendant intended the plaintiff to rely on the (intentionally or

unintentionally) deceptive information given.” Chow v. Aegis Mortg. Corp., 286 F. Supp. 2d

956, 963 (N.D. Ill. 2003). Here, in light of the fact that Walmart provided Kahn with a receipt

against which he could, and indeed did, compare the shelf price to the scanned price to determine

if they differed, the Court cannot find that Walmart intended for Kahn to rely on the incorrectly

scanned price. See Tudor, 288 Ill. App. 3d at 210 (1997) (“[T]he combination of the issuance of

the receipt, along with the money-back guarantee if the scanned price differs from the shelf




3
 Kahn relies heavily on Camasta v. Omaha Steaks International, Inc., No. 12-cv-08285, 2013 WL
4495661 (N.D. Ill. Aug. 21, 2013), to argue that Tudor does not compel dismissal in this case. But the
underlying alleged deceptive conduct in Omaha Steaks differs from that in Tudor and here, with the
plaintiff in that case alleging that the defendant had a pattern and practice of advertising the normal retail
price as a temporary price reduction. Id. at *1. Therefore, the Court does not find Omaha Steaks
persuasive, as nothing suggests that the provision of the receipt in Omaha Steaks would have dispelled the
deception, as it did here.
                                                      7
       Case: 23-1751         Document: 14SA41Filed: 07/17/2023                      Pages: 110

      Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 8 of 10 PageID #:243




price, indicates defendant did not intend that plaintiff rely on an incorrectly scanned price.”); 4 cf.

Omaha Steaks, 2013 WL 4495661, at *10 (plaintiff sufficiently alleged the intent element where,

among other things, the plaintiff could not “determine what the normal retail price is by

comparing his receipt to defendants’ various advertisements”). Because Kahn cannot plead two

of the required elements of his ICFA claim, the Court dismisses that claim.

II.     Remaining Claims

        Kahn’s remaining claims fail for the same reasons as his ICFA claim. His UDTPA claim

requires an allegation of a false, misleading, or deceptive representation, made with the intention

that the consumer rely on the misrepresentation. 815 Ill. Comp. Stat. 510/2; Lynch Ford, Inc. v.

Ford Motor Co., 957 F. Supp. 142, 147 (N.D. Ill. 1997). Kahn alleges that Walmart violated the

UDTPA in the same way it violated ICFA: by advertising one price on the shelf while selling the

items at a higher, scanned price. As the Court has already found, Kahn cannot plead the required

deceptive conduct or intent to deceive, and so his UDTPA claim fails for the same reasons as his

ICFA claim.

        Similarly, absent a plausible allegation of deception, Kahn’s claim for unjust enrichment

fails. See Bober, 246 F.3d at 943 (“[I]n the absence of any deception on the part of the

defendants, the requisite [elements of unjust enrichment are] not present.”). Moreover, a claim

for unjust enrichment cannot stand on its own in light of the Court’s dismissal of Kahn’s ICFA

and UDTPA claims. See Vanzant v. Hill’s Pet Nutrition, Inc., 934 F.3d 730, 740 (7th Cir. 2019)

(“[T]he request for relief based on unjust enrichment is tied to the fate of the claim under the

4
 In Tudor, the plaintiff acknowledged in her complaint that the defendant had a money-back guarantee
for overcharges. 288 Ill. App. 3d at 210. Here, Kahn makes no such allegation nor does Walmart point
us to any such policy that the Court could consider in ruling on Walmart’s motion to dismiss.
Nonetheless, the Court finds that Tudor’s reasoning concerning ICFA’s intent requirement applies with
equal force here where Kahn received a receipt identifying the prices Walmart charged him for the items
he purchased, allowing him to identify any discrepancies between the scanned and shelf prices and raise
any such discrepancies with Walmart.
                                                   8
        Case: 23-1751          Document: 14SA42Filed: 07/17/2023                     Pages: 110

       Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 9 of 10 PageID #:244




Consumer Fraud Act.”); Martis v. Grinnell Mut. Reins. Co., 388 Ill. App. 3d 1017, 1024 (2009)

(“Unjust enrichment is not a separate cause of action that, standing alone, will justify an action

for recovery.”).

          Finally, because the Court has concluded that Kahn has not adequately pleaded claims

under Illinois’ consumer fraud statutes, leaving him without any individual claim, he cannot

pursue his class claims. See Bryant v. All Ways Auto Transp., LLC, No. 1:22-cv-00906, 2022

WL 17338295, at *6 (N.D. Ill. Nov. 30, 2022) (“Class action claims cannot be filed by class

representatives who have no individual claims, because they lack standing and have no ‘personal

stake in the outcome.’” (quoting O’Shea v. Littleton, 414 U.S. 488, 493–94 (1974))). Thus, the

Court dismisses Kahn’s claims on behalf of a multi-state class for violations of other states’

consumer protection statutes. 5 See Bondick v. Ricoh Imaging Ams. Corp., No. 21 C 6132, 2022

WL 2116664, at *8 n.4 (N.D. Ill. June 13, 2022) (“Plaintiff also brings a claim for the violation

of state consumer fraud acts on behalf of the proposed Consumer Fraud Multi-State Class. Since

Plaintiff’s own state-based consumer fraud act is dismissed, the proposed class has not been

certified, and no other claims brought by the individual Plaintiff remain, this claim is also

dismissed.”).

III.      Dismissal with Prejudice

          Having found that Kahn has not sufficiently pleaded any of his claims, the Court must

determine whether to dismiss his complaint with or without prejudice. Although courts typically

grant leave to amend liberally, the Court may divert from this general rule where amendment

would be futile. See Runnion ex rel. Runnion v. Girl Scouts of Greater Chicago & Nw. Ind., 786

F.3d 510, 520 (7th Cir. 2015) (court may dismiss complaint with prejudice “[w]here it is clear

that the defect cannot be corrected so that amendment is futile”); Vargas-Harrison v. Racine
5
    Because no claims remain, the Court need not address Walmart’s other arguments for dismissal.
                                                     9
     Case: 23-1751         Document: 14SA43Filed: 07/17/2023                   Pages: 110

   Case: 1:22-cv-04177 Document #: 37 Filed: 03/21/23 Page 10 of 10 PageID #:245




Unified Sch. Dist., 272 F.3d 964, 974 (7th Cir. 2001) (leave to amend is futile if a new claim

would be unable to survive a Rule 12(b)(6) motion to dismiss). Here, providing Kahn with the

opportunity to amend his complaint would be futile because he cannot correct the defects the

Court has identified with his individual claims. Therefore, the Court dismisses Kahn’s

individual claims with prejudice and his class claims without prejudice.

                                        CONCLUSION

       For the foregoing reasons, the Court grants Walmart’s motion to dismiss [25]. The Court

dismisses Kahn’s individual claims with prejudice and his putative class claims without

prejudice. Case terminated.




Dated: March 21, 2023                                       ______________________
                                                            SARA L. ELLIS
                                                            United States District Judge




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                    Case: 23-1751        Document: 14SA44Filed: 07/17/2023                    Pages: 110

                Case:
ILND 450 (Rev. 10/13)    1:22-cv-04177
                      Judgment in a Civil Action Document #: 38 Filed: 03/21/23 Page 1 of 1 PageID #:246


                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

    Yoram Kahn, individually and on behalf
    of all others similarly situated,

    Plaintiff(s),                                                 Case No. 22-cv-4177
                                                                  Judge Sara L. Ellis
    v.

    WALMART, INC.,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                     in favor of plaintiff(s)
                     and against defendant(s)
                     in the amount of $       ,

                            which      includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                     in favor of defendant(s)
                     and against plaintiff(s)
.
            Defendant(s) shall recover costs from plaintiff(s).


               other: The Court dismisses Kahn’s individual claims with prejudice and his putative class claims
without prejudice.

This action was (check one):

         tried by a jury with Judge         presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge Sara L. Ellis on a motion to dismiss.



Date: 3/21/2023                                            Thomas G. Bruton, Clerk of Court

                                                            Rhonda Johnson, Deputy Clerk
     Case: 23-1751            Document: 14SA45Filed: 07/17/2023               Pages: 110

    Case: 1:22-cv-04177 Document #: 40 Filed: 04/19/23 Page 1 of 2 PageID #:247




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 YORAM KAHN, individually and on behalf of all
 others similarly situated,

                Plaintiffs,
                                                         Case No. 1:22-cv-04177
        v.
                                                         Judge: Honorable Sara L. Ellis
 WALMART, INC.                                           Magistrate: Honorable Young B. Kim

                Defendant.


                                    NOTICE OF APPEAL

       PLEASE TAKE NOTICE that the plaintiff Yoram Kahn (“Plaintiff”), on behalf of himself

and all others similarly situated, hereby appeals to the United States Court of Appeals for the

Seventh Circuit from this Court’s March 21, 2023 Opinion and Order dismissing Plaintiff’s claims

with prejudice and entering final judgment against Plaintiff (Docket Nos. 37, 38).


DATED: April 19, 2023

                                                    By: /s/ Stephanie M. Beige

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     Case: 23-1751         Document: 14SA46Filed: 07/17/2023                   Pages: 110

    Case: 1:22-cv-04177 Document #: 40 Filed: 04/19/23 Page 2 of 2 PageID #:248




                               CERTIFICATE OF SERVICE

       I hereby certify that on April 19, 2023, I caused a true and correct copy of the foregoing

NOTICE OF APPEAL to be served upon counsel of record as of this date by electronic filing.



                                                    /s/ Stephanie M. Beige

                                                    One of the attorneys for Plaintiff
     Case: 23-1751            Document: 14SA47Filed: 07/17/2023                 Pages: 110

     Case: 1:22-cv-04177 Document #: 41 Filed: 04/19/23 Page 1 of 4 PageID #:249




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 YORAM KAHN, individually and on behalf of all
 others similarly situated,

                Plaintiffs,
                                                           Case No. 1:22-cv-04177
        v.
                                                           Judge: Honorable Sara L. Ellis
 WALMART, INC.                                             Magistrate: Honorable Young B. Kim

                Defendant.


               SEVENTH CIRCUIT RULE 3(c) DOCKETING STATEMENT

       Plaintiff Yoram Kahn (“Plaintiff”), on behalf of himself and all others similarly situated,

respectfully submits this Docketing Statement pursuant to Circuit Rule 3(c) of the United States

Court of Appeals for the Seventh Circuit.

I.     DISTRICT COURT JURISDICTION

       The United States District Court for the Northern District of Illinois had original

jurisdiction over this case under 28 U.S.C §1332 because this is a civil action where (a) some of

the members of the putative class of plaintiffs are citizens of a different State from a defendant,

i.e., there is minimal diversity; (b) the number of members of all proposed plaintiff classes in the

aggregate is in excess of 100; and (c) the amount in controversy for the aggregated claims of

putative class members exceeds the sum or value of $5,000,000, exclusive of interest and costs.

28 U.S.C. §§ 1332(d)(2)(A), (d)(5)(B), (d)(6); see also Cplt. at ¶ 8.
       Case: 23-1751         Document: 14SA48Filed: 07/17/2023                   Pages: 110

       Case: 1:22-cv-04177 Document #: 41 Filed: 04/19/23 Page 2 of 4 PageID #:250




         A.     Minimal Diversity Pursuant to 28 U.S.C. § 1332(d)(2)(A) Exists

         Minimal diversity exists where “any member of a class of plaintiffs is a citizen of a State

different from any defendant.” 28 U.S.C. § 1332(d)(2)(A). Plaintiff is a citizen of Ohio. Defendant

is incorporated in Delaware with its principal offices located in Arkansas. See Cplt. at ¶¶ 12-14.

         Additionally, this Court had personal jurisdiction over the Defendant because it conducts

significant amounts of business in Illinois. Defendant has 184 retail stores in Illinois with over

58,000 employees working in those stores. Further, Defendant marketed, promoted, distributed,

and sold the subject goods to Plaintiff in Illinois, and thus the claims arise out of or relate to

Defendant’s contacts with Illinois, subjecting Defendant to personal jurisdiction in Illinois. Id. at

¶ 9.

         B.     There Are At Least One Hundred Members of the Proposed Class

         Plaintiff alleged that the Class consists of over 100 class members. It was undisputed, for

purposes of Defendant’s Motion, that there are at least one hundred members in the proposed class.

         C.     The Amount in Controversy Exceeds $5,000,000

         Plaintiff alleged that the amount in controversy exceeds $5 million. It was undisputed, for

purposes of Defendant’s Motion, that the amount in controversy exceeds $5 million.


II.      APPELLATE COURT JURISDICTION

         The United States Court of Appeals for the Seventh Circuit has jurisdiction over this case

under 28 U.S.C. §1291 and FRAP 3. Plaintiff appeals from an Order and Opinion entered on

March 21, 2023 by the United States District Court of the Northern District of Illinois, dismissing

Plaintiff’s claims with prejudice and terminating this case. Plaintiff’s Notice of Appeal was filed

in the District Court on April 19, 2023. No motions were filed which claim to toll the time within

which to appeal. There have not been any prior or related appellate proceedings in this case.

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     Case: 23-1751        Document: 14SA49Filed: 07/17/2023           Pages: 110

    Case: 1:22-cv-04177 Document #: 41 Filed: 04/19/23 Page 3 of 4 PageID #:251




DATED: April 19, 2023

                                             By: /s/ Stephanie M. Beige

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     Case: 23-1751           Document: 14SA50Filed: 07/17/2023                  Pages: 110

    Case: 1:22-cv-04177 Document #: 41 Filed: 04/19/23 Page 4 of 4 PageID #:252




                                  CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2023, I caused a true and correct copy of the foregoing

SEVENTH CIRCUIT RULE 3(C) DOCKETING STATEMENT to be served upon counsel of

record as of this date by electronic filing.



                                                     /s/ Stephanie M. Beige        __
                                                     One of the attorneys for Plaintiff




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